C           II                                                            ll>~a>ca
                        Case: 1:25-cv-00291-MWM Doc #: 1-10 Filed: 05/06/25rt
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                                                                                   of 48 PAGEID
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                                                                                                #: 48
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                                                                          •S'< C:: Cit rrE!! c:. t. - «> r11
                                                                                                                                            Wednesday February 26, 2025 9:43 AM
                                                                                                                                                                     Count: 635
     Institution(s):
     All

                                                                                    Date Range

    Start Date
    1/1/2020

    End Date
    2/26/2025

     Type of Incident
     Major Contraband                                                                                                                                   F
     Category
     Cell Phones, Drugs, Tobacco, Weapons

     Method of Conveyance
     Mailroom(legal mail)




Created          Incident   Institution   Type Of      Category   Suspected Type of Drugs   Amount/Units   Method Of        Location of     Number     Weapon   Date Of     Time
Date             Number                   Incident                                                         Conveyance       Violence/Area   of         Used?    Incident    Of
                                                                                                                            where found     Inmates                         Incident
                                                                                                                                            Involved

 3/2/2020        MANCI-      MANCI          Major       Drugs            Unknown              3 Pieces     Mailroom(legal    Mail Room                          2/25/2020    9:20
                  INC-                    Contraband                                                            mail)                                                        AM
                  2020-
                 000044

 3/2/2020        MANCI-      MANCI          Major       Drugs            Unknown              4 Pieces     Mailroom(legal    Mail Room                          2/24/2020    12:15
                  INC-                    Contraband                                                            mail)                                                         PM
                  2020-
                 000047

 3/2/2020        MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                          2/24/2020    9:00
                  INC-                    Contraband                                                            mail)                                                        AM
                  2020-
                 000049

 3/2/2020        MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                          2/24/2020    9:50
                  INC-                    Contraband                                                            mail)                                                        AM
                  2020-
                 000061

 3/2/2020        MANCI-      MANCI          Major       Drugs            Unknown              3 Pieces     Mailroom(legal    Mail Room                          2/28/2020    9:00
                  INC-                    Contraband                                                            mail)                                                        AM
                  2020-
                 000095

 3/2/2020        MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                          2/28/2020    12:30
                  INC-                    Contraband                                                            mail)                                                         PM
                  2020-
                 000098

 3/4/2020         LECI-       LECI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                           3/3/2020    1:40
                  INC-                    Contraband                                                            mail)                                                        PM
                  2020-
                 000220

 3/4/2020         LECI-       LECI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                           3/3/2020    2:20
                  INC-                    Contraband                                                            mail)                                                        PM
                  2020-
                 000221
Created     Incident   Institution   Type Of      Category   Suspected Type of Drugs    Amount/Units   Method Of        Location of   Number     Weapon   Date Of     Time
Date        Number Case: 1:25-cv-00291-MWM
                            Incident       Doc #: 1-10 Filed: 05/06/25  Page: 2Violence/Area
                                                                   Conveyance     of 48 PAGEID
                                                                                             of #: 49 Incident
                                                                                                Used?                                                                 Of
                                                                                                                        where found   Inmates                         Incident
                                                                                                                                      Involved

 3/4/2020    LECI-       LECI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                         3/3/2020    2:30
             INC-                    Contraband                                                             mail)                                                      PM
             2020-
            000222

 3/4/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                         3/2/2020    2:20
             INC-                    Contraband                                                             mail)                                                      PM
             2020-
            000238

 3/5/2020   MANCI-      MANCI          Major       Drugs            Unknown               0 Pieces     Mailroom(legal    Mail Room                         3/2/2020    2:20
             INC-                    Contraband                                                             mail)                                                      PM
             2020-
            000277

3/10/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                         3/6/2020    12:46
             INC-                    Contraband                                                             mail)                                                       PM
             2020-
            000548

3/10/2020   MANCI-      MANCI          Major       Drugs            Unknown               2 Pieces     Mailroom(legal    Mail Room                         3/9/2020    10:00
             INC-                    Contraband                                                             mail)                                                       AM
             2020-
            000549

3/12/2020   MANCI-      MANCI          Major       Drugs            Unknown               2 Pieces     Mailroom(legal    Mail Room                        3/11/2020    1:00
             INC-                    Contraband                                                             mail)                                                      PM
             2020-
            000674

3/13/2020   MACI-        MACI          Major       Drugs            Unknown                            Mailroom(legal    Mail Room                        3/10/2020    2:45
             INC-                    Contraband                                                             mail)                                                      PM
             2020-
            000703

3/16/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        3/11/2020    1:00
             INC-                    Contraband                                                             mail)                                                      PM
             2020-
            000747

3/17/2020   MACI-        MACI          Major       Drugs     K2 (Synthetic Marijuana)     5 Pieces     Mailroom(legal    Mail Room                        3/13/2020    1:58
             INC-                    Contraband                                                             mail)                                                      PM
             2020-
            000839

3/17/2020   MANCI-      MANCI          Major       Drugs            Unknown               2 Pieces     Mailroom(legal    Mail Room                        3/16/2020    11:15
             INC-                    Contraband                                                             mail)                                                       AM
             2020-
            000857

3/17/2020   MANCI-      MANCI          Major       Drugs            Unknown               2 Pieces     Mailroom(legal    Mail Room                        3/16/2020    10:00
             INC-                    Contraband                                                             mail)                                                       AM
             2020-
            000858

3/17/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        3/16/2020    1:08
             INC-                    Contraband                                                             mail)                                                      PM
             2020-
            000862

3/17/2020   MANCI-      MANCI          Major       Drugs            Unknown               2 Pieces     Mailroom(legal    Mail Room                        3/16/2020    12:45
             INC-                    Contraband                                                             mail)                                                       PM
             2020-
            000863

3/17/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        3/16/2020    12:32
             INC-                    Contraband                                                             mail)                                                       PM
             2020-
            000864
Created     Incident   Institution   Type Of      Category   Suspected Type of Drugs    Amount/Units   Method Of        Location of   Number     Weapon   Date Of     Time
Date        Number Case: 1:25-cv-00291-MWM
                            Incident       Doc #: 1-10 Filed: 05/06/25  Page: 3Violence/Area
                                                                   Conveyance     of 48 PAGEID
                                                                                             of #: 50 Incident
                                                                                                Used?                                                                 Of
                                                                                                                        where found   Inmates                         Incident
                                                                                                                                      Involved

3/19/2020   MACI-        MACI          Major       Drugs     K2 (Synthetic Marijuana)     5 Pieces     Mailroom(legal    Mail Room                        3/18/2020    12:15
             INC-                    Contraband                                                             mail)                                                       PM
             2020-
            000969

3/25/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        3/23/2020    12:45
             INC-                    Contraband                                                             mail)                                                       PM
             2020-
            001303

3/30/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        3/26/2020    12:35
             INC-                    Contraband                                                             mail)                                                       PM
             2020-
            001755

3/30/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        3/26/2020    12:44
             INC-                    Contraband                                                             mail)                                                       PM
             2020-
            001758

3/31/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        3/30/2020    9:00
             INC-                    Contraband                                                             mail)                                                      AM
             2020-
            001876

 4/1/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        3/31/2020    1:00
             INC-                    Contraband                                                             mail)                                                      PM
             2020-
            001925

 4/1/2020    LECI-       LECI          Major       Drugs     K2 (Synthetic Marijuana)     8 Pieces     Mailroom(legal     LPH Unit                        3/31/2020    1:40
             INC-                    Contraband                                                             mail)                                                      PM
             2020-
            001949

4/10/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                         4/9/2020    8:20
             INC-                    Contraband                                                             mail)                                                      AM
             2020-
            002641

4/17/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal       TPU                           4/16/2020    2:15
             INC-                    Contraband                                                             mail)                                                      PM
             2020-
            003092

4/22/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        4/21/2020    8:00
             INC-                    Contraband                                                             mail)                                                      AM
             2020-
            003379

4/22/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        4/21/2020    7:59
             INC-                    Contraband                                                             mail)                                                      AM
             2020-
            003380

4/22/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        4/21/2020    7:15
             INC-                    Contraband                                                             mail)                                                      AM
             2020-
            003381

4/28/2020   MANCI-      MANCI          Major       Drugs            Unknown               2 Pieces     Mailroom(legal    Mail Room                        4/27/2020    2:15
             INC-                    Contraband                                                             mail)                                                      PM
             2020-
            003695

4/28/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        4/27/2020    1:00
             INC-                    Contraband                                                             mail)                                                      PM
             2020-
            003697
Created     Incident   Institution   Type Of      Category   Suspected Type of Drugs    Amount/Units   Method Of        Location of   Number     Weapon   Date Of     Time
Date        Number Case: 1:25-cv-00291-MWM
                            Incident       Doc #: 1-10 Filed: 05/06/25  Page: 4Violence/Area
                                                                   Conveyance     of 48 PAGEID
                                                                                             of #: 51 Incident
                                                                                                Used?                                                                 Of
                                                                                                                        where found   Inmates                         Incident
                                                                                                                                      Involved

4/30/2020   MANCI-      MANCI          Major       Drugs            Unknown               2 Pieces     Mailroom(legal    Mail Room                        4/29/2020    10:00
             INC-                    Contraband                                                             mail)                                                       AM
             2020-
            003789

4/30/2020   MANCI-      MANCI          Major       Drugs     K2 (Synthetic Marijuana)     6 Pieces     Mailroom(legal    Mail Room                        4/29/2020    8:00
             INC-                    Contraband      6                                                      mail)                                                      AM
             2020-
            003793

 5/4/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        4/29/2020    10:00
             INC-                    Contraband                                                             mail)                                                       AM
             2020-
            003912

 5/5/2020    LECI-       LECI          Major       Drugs     K2 (Synthetic Marijuana)    10 Pieces     Mailroom(legal    Mail Room                         5/4/2020    10:20
             INC-                    Contraband                                                             mail)                                                       AM
             2020-
            004035

 5/5/2020   NEOCC-     NEOCC           Major       Drugs             Heroin               3 Pieces     Mailroom(legal       Office                         5/4/2020    11:50
             INC-                    Contraband                                                             mail)                                                       AM
             2020-
            004051

 5/5/2020    OSP-        OSP           Major       Drugs     Suboxone/Buprenorphine       2 Strips     Mailroom(legal    Mail Room                         5/5/2020    10:30
             INC-                    Contraband                                                             mail)                                                       AM
             2020-
            004066

 5/6/2020     TCI-        TCI          Major       Drugs            Unknown                            Mailroom(legal    Mail Room                         5/1/2020    6:04
             INC-                    Contraband                                                             mail)                                                      PM
             2020-
            004117

 5/8/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                         5/7/2020    10:45
             INC-                    Contraband                                                             mail)                                                       AM
             2020-
            004169

 5/8/2020    LECI-       LECI          Major       Drugs     K2 (Synthetic Marijuana)     7 Pieces     Mailroom(legal    Mail Room                         5/7/2020    1:30
             INC-                    Contraband                                                             mail)                                                      PM
             2020-
            004186

5/18/2020   NEOCC-     NEOCC           Major       Drugs             Heroin               7 Pieces     Mailroom(legal      Other-                         5/14/2020    3:45
             INC-                    Contraband      2                                                      mail)                                                      PM
             2020-
            004490

5/18/2020   NEOCC-     NEOCC           Major       Drugs            Fentanyl              1 Pieces     Mailroom(legal      Other-                         5/12/2020    11:43
             INC-                    Contraband                                                             mail)                                                       AM
             2020-
            004527

5/19/2020    LECI-       LECI          Major       Drugs     K2 (Synthetic Marijuana)    18 Pieces     Mailroom(legal    Mail Room                        5/18/2020    1:30
             INC-                    Contraband                                                             mail)                                                      PM
             2020-
            004609

5/28/2020   MANCI-      MANCI          Major       Drugs            Unknown               2 Pieces     Mailroom(legal    Mail Room                        5/27/2020    8:00
             INC-                    Contraband                                                             mail)                                                      AM
             2020-
            004977

5/28/2020   MANCI-      MANCI          Major       Drugs            Unknown               2 Pieces     Mailroom(legal    Mail Room                        5/27/2020    7:00
             INC-                    Contraband                                                             mail)                                                      AM
             2020-
            005020
Created     Incident   Institution   Type Of      Category   Suspected Type of Drugs   Amount/Units   Method Of        Location of   Number     Weapon   Date Of     Time
Date        Number Case: 1:25-cv-00291-MWM
                            Incident       Doc #: 1-10 Filed: 05/06/25  Page: 5Violence/Area
                                                                   Conveyance     of 48 PAGEID
                                                                                             of #: 52 Incident
                                                                                                Used?                                                                Of
                                                                                                                       where found   Inmates                         Incident
                                                                                                                                     Involved

5/29/2020   MANCI-      MANCI          Major       Drugs            Unknown              2 Pieces     Mailroom(legal    Mail Room                        5/28/2020    1:00
             INC-                    Contraband                                                            mail)                                                      PM
             2020-
            005055

 6/2/2020   MANCI-      MANCI          Major       Drugs            Unknown              2 Pieces     Mailroom(legal    Mail Room                         6/1/2020    9:30
             INC-                    Contraband                                                            mail)                                                      AM
             2020-
            005235

 6/4/2020   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         6/3/2020    10:05
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            005360

 6/4/2020   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         6/3/2020    9:50
             INC-                    Contraband                                                            mail)                                                      AM
             2020-
            005362

 6/4/2020   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         6/3/2020    11:25
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            005363

 6/9/2020   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         6/8/2020    1:30
             INC-                    Contraband                                                            mail)                                                      PM
             2020-
            005526

 6/9/2020   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         6/8/2020    11:30
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            005527

 6/9/2020   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         6/8/2020    11:25
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            005528

6/24/2020   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        6/23/2020    7:40
             INC-                    Contraband                                                            mail)                                                      AM
             2020-
            006319

6/24/2020   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        6/23/2020    7:25
             INC-                    Contraband                                                            mail)                                                      AM
             2020-
            006320

6/25/2020    GCI-         GCI          Major       Drugs     Suboxone/Buprenorphine      25 Strips    Mailroom(legal       Office                        6/25/2020    7:50
             INC-                    Contraband                                                            mail)                                                      AM
             2020-
            006425

7/10/2020   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         7/9/2020    12:15
             INC-                    Contraband                                                            mail)                                                       PM
             2020-
            007088

7/10/2020   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         7/9/2020    12:35
             INC-                    Contraband                                                            mail)                                                       PM
             2020-
            007089

7/10/2020    RICI-       RICI          Major       Drugs            Unknown              5 Pieces     Mailroom(legal    Mail Room                         7/9/2020    12:15
             INC-                    Contraband                                                            mail)                                                       PM
             2020-
            007100
Created     Incident   Institution   Type Of      Category   Suspected Type of Drugs    Amount/Units   Method Of        Location of    Number     Weapon   Date Of     Time
Date        Number Case: 1:25-cv-00291-MWM
                            Incident       Doc #: 1-10 Filed: 05/06/25  Page: 6Violence/Area
                                                                   Conveyance     of 48 PAGEID
                                                                                             of #: 53 Incident
                                                                                                Used?                                                                  Of
                                                                                                                        where found    Inmates                         Incident
                                                                                                                                       Involved

7/14/2020    GCI-         GCI          Major       Drugs          Amphetamine             1 Pieces     Mailroom(legal   Housing Unit                       7/14/2020    8:00
             INC-                    Contraband                                                             mail)        - General                                      AM
             2020-
            007300

7/15/2020    GCI-         GCI          Major       Drugs       Other Synthetic Drug       2 Pieces     Mailroom(legal   Housing Unit                       7/14/2020    11:40
             INC-                    Contraband                                                             mail)        - General                                       AM
             2020-
            007361

7/23/2020    OSP-        OSP           Major       Drugs     K2 (Synthetic Marijuana)     1 Pieces     Mailroom(legal   Housing Unit                       7/23/2020    8:50
             INC-                    Contraband                                                             mail)        - General                                      AM
             2020-
            007742

7/29/2020    BECI-       BECI          Major       Drugs     Suboxone/Buprenorphine       25 Strips    Mailroom(legal    Mail Room                          7/1/2020    7:40
             INC-                    Contraband                                                             mail)                                                       AM
             2020-
            008009

7/30/2020    BECI-       BECI          Major       Drugs     K2 (Synthetic Marijuana)     1 Pieces     Mailroom(legal    Mail Room                         5/27/2020    11:00
             INC-                    Contraband                                                             mail)                                                        AM
             2020-
            008053

7/30/2020    BECI-       BECI          Major       Drugs     Suboxone/Buprenorphine       5 Strips     Mailroom(legal    Mail Room                         7/10/2020    7:45
             INC-                    Contraband                                                             mail)                                                       AM
             2020-
            008056

7/30/2020    OSP-        OSP           Major       Drugs     K2 (Synthetic Marijuana)     3 Pieces     Mailroom(legal    Mail Room                         7/30/2020    12:30
             INC-                    Contraband                                                             mail)                                                        PM
             2020-
            008062

 8/7/2020    GCI-         GCI          Major       Drugs     K2 (Synthetic Marijuana)    29 Pieces     Mailroom(legal    Mail Room                          8/5/2020    1:00
             INC-                    Contraband                                                             mail)                                                       PM
             2020-
            008536

8/11/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                          8/4/2020    11:30
             INC-                    Contraband                                                             mail)                                                        AM
             2020-
            008696

8/11/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                          8/4/2020    11:50
             INC-                    Contraband                                                             mail)                                                        AM
             2020-
            008697

8/11/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                          8/4/2020    11:45
             INC-                    Contraband                                                             mail)                                                        AM
             2020-
            008698

8/11/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                          8/7/2020    10:58
             INC-                    Contraband                                                             mail)                                                        AM
             2020-
            008699

8/11/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                         8/10/2020    7:45
             INC-                    Contraband                                                             mail)                                                       AM
             2020-
            008700

8/14/2020    OSP-        OSP           Major       Drugs     K2 (Synthetic Marijuana)     4 Pieces     Mailroom(legal    Mail Room                         8/13/2020    2:40
             INC-                    Contraband                                                             mail)                                                       PM
             2020-
            008985
Created     Incident   Institution   Type Of      Category   Suspected Type of Drugs    Amount/Units   Method Of        Location of   Number     Weapon   Date Of     Time
Date        Number Case: 1:25-cv-00291-MWM
                            Incident       Doc #: 1-10 Filed: 05/06/25  Page: 7Violence/Area
                                                                   Conveyance     of 48 PAGEID
                                                                                             of #: 54 Incident
                                                                                                Used?                                                                 Of
                                                                                                                        where found   Inmates                         Incident
                                                                                                                                      Involved

8/14/2020    OSP-        OSP           Major       Drugs     Suboxone/Buprenorphine       23 Strips    Mailroom(legal    Mail Room                        8/13/2020    3:30
             INC-                    Contraband                                                             mail)                                                      PM
             2020-
            008986

8/14/2020    OSP-        OSP           Major       Drugs     K2 (Synthetic Marijuana)     7 Pieces     Mailroom(legal    Mail Room                        8/14/2020    12:30
             INC-                    Contraband                                                             mail)                                                       PM
             2020-
            008987

8/18/2020    OSP-        OSP           Major       Drugs             Heroin               1 Pieces     Mailroom(legal    Mail Room                        8/18/2020    12:00
             INC-                    Contraband                                                             mail)                                                       PM
             2020-
            009166

8/21/2020    OSP-        OSP           Major       Drugs     K2 (Synthetic Marijuana)     3 Pieces     Mailroom(legal    Mail Room                        8/19/2020    1:15
             INC-                    Contraband                                                             mail)                                                      PM
             2020-
            009303

8/21/2020     PCI-        PCI          Major       Drugs     K2 (Synthetic Marijuana)     4 Strips     Mailroom(legal    Mail Room                        8/17/2020    11:00
             INC-                    Contraband                                                             mail)                                                       AM
             2020-
            009336

8/24/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        8/19/2020    9:52
             INC-                    Contraband                                                             mail)                                                      AM
             2020-
            009508

8/26/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        8/25/2020    9:17
             INC-                    Contraband                                                             mail)                                                      AM
             2020-
            009655

8/27/2020    OSP-        OSP           Major       Drugs     K2 (Synthetic Marijuana)     3 Pieces     Mailroom(legal    Mail Room                        8/26/2020    12:15
             INC-                    Contraband                                                             mail)                                                       PM
             2020-
            009732

8/28/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        8/26/2020    10:02
             INC-                    Contraband                                                             mail)                                                       AM
             2020-
            009749

8/28/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        8/26/2020    9:40
             INC-                    Contraband                                                             mail)                                                      AM
             2020-
            009750

8/28/2020   MANCI-      MANCI          Major       Drugs     K2 (Synthetic Marijuana)     1 Pieces     Mailroom(legal    Mail Room                        8/26/2020    10:04
             INC-                    Contraband                                                             mail)                                                       AM
             2020-
            009752

8/28/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        8/26/2020    10:00
             INC-                    Contraband                                                             mail)                                                       AM
             2020-
            009753

8/28/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        8/26/2020    9:25
             INC-                    Contraband                                                             mail)                                                      AM
             2020-
            009754

 9/1/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        8/31/2020    9:56
             INC-                    Contraband                                                             mail)                                                      AM
             2020-
            009948
Created     Incident   Institution   Type Of      Category   Suspected Type of Drugs    Amount/Units   Method Of        Location of   Number     Weapon   Date Of     Time
Date        Number Case: 1:25-cv-00291-MWM
                            Incident       Doc #: 1-10 Filed: 05/06/25  Page: 8Violence/Area
                                                                   Conveyance     of 48 PAGEID
                                                                                             of #: 55 Incident
                                                                                                Used?                                                                 Of
                                                                                                                        where found   Inmates                         Incident
                                                                                                                                      Involved

 9/2/2020    RCI-         RCI          Major       Drugs     K2 (Synthetic Marijuana)     1 Pieces     Mailroom(legal    Mail Room                        6/16/2020    10:00
             INC-                    Contraband                                                             mail)                                                       AM
             2020-
            010003

 9/2/2020    RCI-         RCI          Major       Drugs     K2 (Synthetic Marijuana)     1 Pieces     Mailroom(legal    Mail Room                        6/22/2020    9:00
             INC-                    Contraband                                                             mail)                                                      AM
             2020-
            010004

 9/2/2020    RCI-         RCI          Major       Drugs     K2 (Synthetic Marijuana)     1 Pieces     Mailroom(legal    Mail Room                        6/19/2020    7:40
             INC-                    Contraband                                                             mail)                                                      AM
             2020-
            010005

 9/2/2020    RCI-         RCI          Major       Drugs     K2 (Synthetic Marijuana)     1 Pieces     Mailroom(legal    Mail Room                        6/19/2020    9:00
             INC-                    Contraband                                                             mail)                                                      AM
             2020-
            010006

 9/2/2020    OSP-        OSP           Major       Drugs             Heroin              29 Pieces     Mailroom(legal    Mail Room                         9/1/2020    12:15
             INC-                    Contraband                                                             mail)                                                       PM
             2020-
            010078

 9/2/2020    GCI-         GCI          Major       Drugs     K2 (Synthetic Marijuana)     2 Pieces     Mailroom(legal    Mail Room                         9/1/2020    2:00
             INC-                    Contraband                                                             mail)                                                      PM
             2020-
            010157

 9/3/2020   MANCI-      MANCI          Major       Drugs            Unknown              30 Pieces     Mailroom(legal    Mail Room                         9/1/2020    11:58
             INC-                    Contraband                                                             mail)                                                       AM
             2020-
            010188

 9/3/2020   MANCI-      MANCI          Major       Drugs            Unknown               2 Pieces     Mailroom(legal    Mail Room                         9/1/2020    9:00
             INC-                    Contraband                                                             mail)                                                      AM
             2020-
            010191

 9/4/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                         9/3/2020    12:45
             INC-                    Contraband                                                             mail)                                                       PM
             2020-
            010258

 9/8/2020    OSP-        OSP           Major       Drugs     Suboxone/Buprenorphine       20 Strips    Mailroom(legal    Mail Room                         9/8/2020    1:10
             INC-                    Contraband                                                             mail)                                                      PM
             2020-
            010423

9/10/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                         9/9/2020    9:00
             INC-                    Contraband                                                             mail)                                                      AM
             2020-
            010578

9/10/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                         9/9/2020    6:00
             INC-                    Contraband                                                             mail)                                                      AM
             2020-
            010579

9/10/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                         9/9/2020    8:45
             INC-                    Contraband                                                             mail)                                                      AM
             2020-
            010580

9/10/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                         9/9/2020    12:03
             INC-                    Contraband                                                             mail)                                                       PM
             2020-
            010581
Created     Incident   Institution   Type Of      Category   Suspected Type of Drugs   Amount/Units   Method Of        Location of   Number     Weapon   Date Of     Time
Date        Number Case: 1:25-cv-00291-MWM
                            Incident       Doc #: 1-10 Filed: 05/06/25  Page: 9Violence/Area
                                                                   Conveyance     of 48 PAGEID
                                                                                             of #: 56 Incident
                                                                                                Used?                                                                Of
                                                                                                                       where found   Inmates                         Incident
                                                                                                                                     Involved

9/17/2020   NEOCC-     NEOCC           Major       Drugs             Heroin              1 Pieces     Mailroom(legal      Other-                          6/4/2020    9:40
             INC-                    Contraband                                                            mail)                                                      AM
             2020-
            010939

9/18/2020   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        9/16/2020    8:40
             INC-                    Contraband                                                            mail)                                                      AM
             2020-
            011082

9/18/2020   MACI-        MACI          Major       Drugs            Unknown              4 Pieces     Mailroom(legal    Mail Room                        9/17/2020    9:16
             INC-                    Contraband                                                            mail)                                                      AM
             2020-
            011088

9/18/2020   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        9/16/2020    11:20
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            011096

9/18/2020   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        9/17/2020    7:30
             INC-                    Contraband                                                            mail)                                                      AM
             2020-
            011100

9/22/2020   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        9/21/2020    11:00
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            011308

9/22/2020   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        9/21/2020    11:00
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            011310

9/23/2020   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        9/22/2020    7:30
             INC-                    Contraband                                                            mail)                                                      AM
             2020-
            011351

9/24/2020   SOCF-       SOCF           Major       Drugs            Unknown              3 Pieces     Mailroom(legal    Mail Room                        9/22/2020    11:35
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            011502

9/30/2020   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        9/25/2020    11:30
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            011743

9/30/2020   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        9/28/2020    9:45
             INC-                    Contraband                                                            mail)                                                      AM
             2020-
            011744

9/30/2020   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        9/25/2020    12:15
             INC-                    Contraband                                                            mail)                                                       PM
             2020-
            011745

9/30/2020   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        9/24/2020    9:55
             INC-                    Contraband                                                            mail)                                                      AM
             2020-
            011746

9/30/2020   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        9/25/2020    8:41
             INC-                    Contraband                                                            mail)                                                      AM
             2020-
            011747
Created      Incident   Institution   Type Of      Category   Suspected Type of Drugs    Amount/Units   Method Of        Location of   Number     Weapon   Date Of      Time
Date         NumberCase: 1:25-cv-00291-MWM
                             Incident      Doc #: 1-10 Filed: 05/06/25  Page: 10
                                                                    Conveyance     of 48 PAGEID
                                                                               Violence/Area of  #: 57 Incident
                                                                                                Used?                                                                   Of
                                                                                                                         where found   Inmates                          Incident
                                                                                                                                       Involved

9/30/2020    MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        9/24/2020     9:15
              INC-                    Contraband                                                             mail)                                                       AM
              2020-
             011748

9/30/2020    MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        9/29/2020     5:32
              INC-                    Contraband                                                             mail)                                                       AM
              2020-
             011749

9/30/2020    MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        9/29/2020     8:10
              INC-                    Contraband                                                             mail)                                                       AM
              2020-
             011750

9/30/2020    MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        9/28/2020     9:18
              INC-                    Contraband                                                             mail)                                                       AM
              2020-
             011753

10/1/2020     LECI-       LECI          Major       Drugs     K2 (Synthetic Marijuana)    80 Pieces     Mailroom(legal      Other-                         9/30/2020     12:00
              INC-                    Contraband                                                             mail)                                                        PM
              2020-
             011815

10/5/2020    MACI-        MACI          Major       Drugs            Unknown               2 Pieces     Mailroom(legal    Mail Room                        10/2/2020     9:30
              INC-                    Contraband                                                             mail)                                                       AM
              2020-
             011927

10/8/2020    SOCF-       SOCF           Major       Drugs            Unknown               3 Pieces     Mailroom(legal    Mail Room                        10/6/2020     1:15
              INC-                    Contraband                                                             mail)                                                       PM
              2020-
             012117

10/9/2020      PCI-        PCI          Major       Drugs     K2 (Synthetic Marijuana)    10 Pieces     Mailroom(legal    Mail Room                        10/7/2020     11:30
              INC-                    Contraband                                                             mail)                                                        AM
              2020-
             012169

10/15/2020    MCI-         MCI          Major       Drugs     K2 (Synthetic Marijuana)    76 Grams      Mailroom(legal    Mail Room                        10/14/2020    10:00
              INC-                    Contraband                                                             mail)                                                        AM
              2020-
             012363

10/16/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        10/6/2020     12:30
              INC-                    Contraband                                                             mail)                                                        PM
              2020-
             012396

10/16/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        10/7/2020     12:00
              INC-                    Contraband                                                             mail)                                                        PM
              2020-
             012397

10/16/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        10/6/2020     10:40
              INC-                    Contraband                                                             mail)                                                        AM
              2020-
             012398

10/16/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        10/13/2020    9:50
              INC-                    Contraband                                                             mail)                                                       AM
              2020-
             012399

10/16/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        10/15/2020    2:30
              INC-                    Contraband                                                             mail)                                                       PM
              2020-
             012403
Created      Incident   Institution   Type Of      Category   Suspected Type of Drugs   Amount/Units   Method Of        Location of   Number     Weapon   Date Of      Time
Date         NumberCase: 1:25-cv-00291-MWM
                             Incident      Doc #: 1-10 Filed: 05/06/25  Page: 11
                                                                    Conveyance     of 48 PAGEID
                                                                               Violence/Area of  #: 58 Incident
                                                                                                Used?                                                                  Of
                                                                                                                        where found   Inmates                          Incident
                                                                                                                                      Involved

10/19/2020   LORCI-      LORCI          Major       Drugs       Other Synthetic Drug      7 Pieces     Mailroom(legal    Mail Room                        10/16/2020    11:19
              INC-                    Contraband                                                            mail)                                                        AM
              2020-
             012518

10/22/2020   LORCI-      LORCI          Major       Drugs       Other Synthetic Drug      1 Pieces     Mailroom(legal    Mail Room                        10/20/2020    11:00
              INC-                    Contraband                                                            mail)                                                        AM
              2020-
             012791

10/29/2020   MANCI-      MANCI          Major       Drugs     Suboxone/Buprenorphine      1 Pieces     Mailroom(legal    Mail Room                        10/28/2020    1:30
              INC-                    Contraband                                                            mail)                                                       PM
              2020-
             013306

10/29/2020   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        10/21/2020    10:40
              INC-                    Contraband                                                            mail)                                                        AM
              2020-
             013307

10/29/2020   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        10/21/2020    11:00
              INC-                    Contraband                                                            mail)                                                        AM
              2020-
             013308

11/6/2020     MCI-         MCI          Major       Drugs        Methamphetamine         25 Grams      Mailroom(legal    Mail Room                        11/5/2020     12:35
              INC-                    Contraband                                                            mail)                                                        PM
              2020-
             013758

11/12/2020   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        11/10/2020    9:15
              INC-                    Contraband                                                            mail)                                                       AM
              2020-
             014086

11/12/2020   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        11/10/2020    9:15
              INC-                    Contraband                                                            mail)                                                       AM
              2020-
             014087

11/12/2020   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        11/10/2020    12:30
              INC-                    Contraband                                                            mail)                                                        PM
              2020-
             014091

11/12/2020   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        11/10/2020    12:50
              INC-                    Contraband                                                            mail)                                                        PM
              2020-
             014092

11/12/2020   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        11/10/2020    1:00
              INC-                    Contraband                                                            mail)                                                       PM
              2020-
             014093

11/12/2020   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        11/10/2020    1:00
              INC-                    Contraband                                                            mail)                                                       PM
              2020-
             014095

11/13/2020   SOCF-       SOCF           Major       Drugs            Unknown              4 Pieces     Mailroom(legal    Mail Room                        11/10/2020    8:30
              INC-                    Contraband                                                            mail)                                                       AM
              2020-
             014196

11/17/2020   SOCF-       SOCF           Major       Drugs            Unknown             50 Pieces     Mailroom(legal    Mail Room                        11/13/2020    9:40
              INC-                    Contraband                                                            mail)                                                       AM
              2020-
             014496
Created      Incident   Institution   Type Of      Category   Suspected Type of Drugs    Amount/Units   Method Of        Location of    Number     Weapon   Date Of      Time
Date         NumberCase: 1:25-cv-00291-MWM
                             Incident      Doc #: 1-10 Filed: 05/06/25  Page: 12
                                                                    Conveyance     of 48 PAGEID
                                                                               Violence/Area of  #: 59 Incident
                                                                                                Used?                                                                    Of
                                                                                                                         where found    Inmates                          Incident
                                                                                                                                        Involved

11/19/2020    MCI-         MCI          Major       Drugs        Methamphetamine          52 Grams      Mailroom(legal    Mail Room                         11/18/2020    12:45
              INC-                    Contraband                                                             mail)                                                         PM
              2020-
             014578

11/20/2020   MANCI-      MANCI          Major       Drugs     Suboxone/Buprenorphine       10 Strips    Mailroom(legal    Mail Room                         11/19/2020    8:30
              INC-                    Contraband                                                             mail)                                                        AM
              2020-
             014617

11/23/2020   MACI-        MACI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                         11/20/2020    10:00
              INC-                    Contraband                                                             mail)                                                         AM
              2020-
             014740

11/25/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                         11/24/2020    12:20
              INC-                    Contraband                                                             mail)                                                         PM
              2020-
             014847

11/25/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                         11/24/2020    12:30
              INC-                    Contraband                                                             mail)                                                         PM
              2020-
             014848

12/1/2020    MANCI-      MANCI          Major       Drugs     Suboxone/Buprenorphine       7 Strips     Mailroom(legal    Mail Room                         11/19/2020    7:57
              INC-                    Contraband      2                                                      mail)                                                        AM
              2020-
             015080

12/1/2020      SCI-        SCI          Major       Drugs     K2 (Synthetic Marijuana)     1 Pieces     Mailroom(legal   Housing Unit                       8/20/2020     10:50
              INC-                    Contraband                                                             mail)        - General                                        AM
              2020-
             015103

12/1/2020    MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                          1/2/2020     12:24
              INC-                    Contraband                                                             mail)                                                         PM
              2020-
             015104

12/1/2020    MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                          1/3/2020     9:45
              INC-                    Contraband                                                             mail)                                                        AM
              2020-
             015105

12/1/2020    MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                         1/10/2020     10:35
              INC-                    Contraband                                                             mail)                                                         AM
              2020-
             015110

12/1/2020     LOCI-       LOCI          Major       Drugs        Methamphetamine           8 Pieces     Mailroom(legal    Mail Room                         11/24/2020    12:30
               INC-                   Contraband                                                             mail)                                                         PM
              2020-
             015112

12/1/2020      SCI-        SCI          Major       Drugs     K2 (Synthetic Marijuana)     4 Pieces     Mailroom(legal    Mail Room                         9/18/2020     12:00
              INC-                    Contraband                                                             mail)                                                         PM
              2020-
             015116

12/1/2020    MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                         1/31/2020     8:30
              INC-                    Contraband                                                             mail)                                                        AM
              2020-
             015118

12/1/2020    MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                         1/31/2020     8:30
              INC-                    Contraband                                                             mail)                                                        AM
              2020-
             015120
Created     Incident   Institution   Type Of      Category   Suspected Type of Drugs    Amount/Units   Method Of        Location of    Number     Weapon   Date Of      Time
Date        NumberCase: 1:25-cv-00291-MWM
                            Incident      Doc #: 1-10 Filed: 05/06/25  Page: 13
                                                                   Conveyance     of 48 PAGEID
                                                                              Violence/Area of  #: 60 Incident
                                                                                               Used?                                                                    Of
                                                                                                                        where found    Inmates                          Incident
                                                                                                                                       Involved

12/1/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                         1/31/2020     7:00
             INC-                    Contraband                                                             mail)                                                        AM
             2020-
            015124

12/1/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                         1/31/2020     8:45
             INC-                    Contraband                                                             mail)                                                        AM
             2020-
            015125

12/1/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                         2/11/2020     11:15
             INC-                    Contraband                                                             mail)                                                         AM
             2020-
            015127

12/1/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                         2/12/2020     1:05
             INC-                    Contraband                                                             mail)                                                        PM
             2020-
            015130

12/1/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                         2/12/2020     1:06
             INC-                    Contraband                                                             mail)                                                        PM
             2020-
            015131

12/1/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                         2/12/2020     1:06
             INC-                    Contraband                                                             mail)                                                        PM
             2020-
            015132

12/1/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                         2/14/2020     11:03
             INC-                    Contraband                                                             mail)                                                         AM
             2020-
            015133

12/1/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                         2/14/2020     12:08
             INC-                    Contraband                                                             mail)                                                         PM
             2020-
            015134

12/1/2020     SCI-        SCI          Major       Drugs     K2 (Synthetic Marijuana)    12 Pieces     Mailroom(legal    Mail Room                         8/24/2020     10:30
             INC-                    Contraband                                                             mail)                                                         AM
             2020-
            015138

12/1/2020    RICI-       RICI          Major       Drugs     K2 (Synthetic Marijuana)     20 Strips    Mailroom(legal   Housing Unit                       6/26/2020     9:45
             INC-                    Contraband                                                             mail)        - General                                       PM
             2020-
            015143

12/1/2020    RICI-       RICI          Major       Drugs     K2 (Synthetic Marijuana)    300 Strips    Mailroom(legal    Mail Room                          8/4/2020     9:00
             INC-                    Contraband                                                             mail)                                                        AM
             2020-
            015145

12/1/2020    RICI-       RICI          Major       Drugs     K2 (Synthetic Marijuana)    100 Strips    Mailroom(legal    Mail Room                         8/21/2020     9:38
             INC-                    Contraband                                                             mail)                                                        AM
             2020-
            015146

12/1/2020    RICI-       RICI          Major       Drugs     K2 (Synthetic Marijuana)    100 Strips    Mailroom(legal    Mail Room                         11/24/2020    10:25
             INC-                    Contraband                                                             mail)                                                         AM
             2020-
            015150

12/1/2020     SCI-        SCI          Major       Drugs     K2 (Synthetic Marijuana)    30 Pieces     Mailroom(legal    Mail Room                         9/18/2020     8:00
             INC-                    Contraband                                                             mail)                                                        AM
             2020-
            015151
Created     Incident   Institution   Type Of      Category   Suspected Type of Drugs    Amount/Units   Method Of        Location of    Number     Weapon   Date Of      Time
Date        NumberCase: 1:25-cv-00291-MWM
                            Incident      Doc #: 1-10 Filed: 05/06/25  Page: 14
                                                                   Conveyance     of 48 PAGEID
                                                                              Violence/Area of  #: 61 Incident
                                                                                               Used?                                                                    Of
                                                                                                                        where found    Inmates                          Incident
                                                                                                                                       Involved

12/1/2020     SCI-        SCI          Major       Drugs     K2 (Synthetic Marijuana)     1 Pieces     Mailroom(legal    Mail Room                         11/3/2020     8:00
             INC-                    Contraband                                                             mail)                                                        AM
             2020-
            015154

12/1/2020     SCI-        SCI          Major       Drugs     K2 (Synthetic Marijuana)     1 Pieces     Mailroom(legal    Mail Room                         11/3/2020     8:00
             INC-                    Contraband                                                             mail)                                                        AM
             2020-
            015155

12/1/2020     SCI-        SCI          Major       Drugs     K2 (Synthetic Marijuana)     1 Pieces     Mailroom(legal    Mail Room                         11/3/2020     8:00
             INC-                    Contraband                                                             mail)                                                        AM
             2020-
            015157

12/1/2020    RICI-       RICI          Major       Drugs     K2 (Synthetic Marijuana)    100 Strips    Mailroom(legal    Mail Room                         9/17/2020     11:45
             INC-                    Contraband                                                             mail)                                                         AM
             2020-
            015158

12/1/2020    RICI-       RICI          Major       Drugs     K2 (Synthetic Marijuana)    100 Strips    Mailroom(legal   Medical Area                       9/18/2020     11:45
             INC-                    Contraband                                                             mail)                                                         PM
             2020-
            015159

12/1/2020    RICI-       RICI          Major       Drugs     K2 (Synthetic Marijuana)    100 Strips    Mailroom(legal    Mail Room                         9/29/2020     11:40
             INC-                    Contraband                                                             mail)                                                         PM
             2020-
            015165

12/1/2020     SCI-        SCI          Major       Drugs     K2 (Synthetic Marijuana)     1 Pieces     Mailroom(legal    Mail Room                         9/25/2020     8:00
             INC-                    Contraband                                                             mail)                                                        AM
             2020-
            015166

12/1/2020    RICI-       RICI          Major       Drugs     K2 (Synthetic Marijuana)    100 Strips    Mailroom(legal    Mail Room                         10/5/2020     8:00
             INC-                    Contraband                                                             mail)                                                        AM
             2020-
            015167

12/1/2020    RICI-       RICI          Major       Drugs     K2 (Synthetic Marijuana)    100 Strips    Mailroom(legal    Mail Room                         9/24/2020     12:30
             INC-                    Contraband                                                             mail)                                                         PM
             2020-
            015170

12/1/2020    RICI-       RICI          Major       Drugs     K2 (Synthetic Marijuana)    100 Strips    Mailroom(legal    Mail Room                         11/2/2020     12:30
             INC-                    Contraband                                                             mail)                                                         PM
             2020-
            015190

12/1/2020    RICI-       RICI          Major       Drugs     Suboxone/Buprenorphine       8 Strips     Mailroom(legal    Mail Room                         11/4/2020     10:24
             INC-                    Contraband                                                             mail)                                                         AM
             2020-
            015192

12/1/2020     SCI-        SCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                         10/26/2020    8:00
             INC-                    Contraband                                                             mail)                                                        AM
             2020-
            015213

12/1/2020     SCI-        SCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                         10/2/2020     8:00
             INC-                    Contraband                                                             mail)                                                        AM
             2020-
            015215

12/2/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                         12/1/2020     9:15
             INC-                    Contraband                                                             mail)                                                        AM
             2020-
            015249
Created     Incident   Institution   Type Of      Category   Suspected Type of Drugs   Amount/Units   Method Of        Location of   Number     Weapon   Date Of      Time
Date        NumberCase: 1:25-cv-00291-MWM
                            Incident      Doc #: 1-10 Filed: 05/06/25  Page: 15
                                                                   Conveyance     of 48 PAGEID
                                                                              Violence/Area of  #: 62 Incident
                                                                                               Used?                                                                  Of
                                                                                                                       where found   Inmates                          Incident
                                                                                                                                     Involved

12/2/2020    LOCI-       LOCI          Major       Drugs       Other Synthetic Drug     46 Pieces     Mailroom(legal    Mail Room                         7/7/2020     10:00
              INC-                   Contraband                                                            mail)                                                        AM
             2020-
            015284

12/2/2020    RICI-       RICI          Major       Drugs       Other Synthetic Drug      10 Strips    Mailroom(legal    Mail Room                        11/20/2020    9:58
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            015289

12/2/2020    LOCI-       LOCI          Major       Drugs       Other Synthetic Drug      1 Pieces     Mailroom(legal    Mail Room                        2/24/2020     3:00
              INC-                   Contraband                                                            mail)                                                       PM
             2020-
            015290

12/2/2020    LOCI-       LOCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        2/14/2020     12:00
              INC-                   Contraband                                                            mail)                                                        PM
             2020-
            015291

12/3/2020   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        12/2/2020     9:40
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            015298

12/3/2020   MANCI-      MANCI          Major       Drugs     Suboxone/Buprenorphine      8 Pieces     Mailroom(legal    Mail Room                        12/2/2020     8:45
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            015299

12/3/2020   MANCI-      MANCI          Major       Drugs            Unknown              2 Pieces     Mailroom(legal    Mail Room                        12/2/2020     1:15
             INC-                    Contraband                                                            mail)                                                       PM
             2020-
            015302

12/3/2020   SOCF-       SOCF           Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        11/25/2020    10:55
             INC-                    Contraband                                                            mail)                                                        AM
             2020-
            015327

12/3/2020   SOCF-       SOCF           Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        11/25/2020    9:45
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            015328

12/3/2020   SOCF-       SOCF           Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        11/25/2020    10:20
             INC-                    Contraband                                                            mail)                                                        AM
             2020-
            015329

12/3/2020    WCI-         WCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         1/9/2020     2:59
             INC-                    Contraband                                                            mail)                                                       PM
             2020-
            015382

12/3/2020    WCI-         WCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        3/12/2020     3:30
             INC-                    Contraband                                                            mail)                                                       PM
             2020-
            015404

12/3/2020    WCI-         WCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        3/24/2020     3:31
             INC-                    Contraband                                                            mail)                                                       PM
             2020-
            015405

12/3/2020    WCI-         WCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        3/31/2020     3:34
             INC-                    Contraband                                                            mail)                                                       PM
             2020-
            015408
Created     Incident   Institution   Type Of      Category   Suspected Type of Drugs   Amount/Units   Method Of        Location of   Number     Weapon   Date Of      Time
Date        NumberCase: 1:25-cv-00291-MWM
                            Incident      Doc #: 1-10 Filed: 05/06/25  Page: 16
                                                                   Conveyance     of 48 PAGEID
                                                                              Violence/Area of  #: 63 Incident
                                                                                               Used?                                                                  Of
                                                                                                                       where found   Inmates                          Incident
                                                                                                                                     Involved

12/3/2020    WCI-         WCI          Major       Drugs            Unknown              5 Pieces     Mailroom(legal    Mail Room                         4/8/2020     3:35
             INC-                    Contraband                                                            mail)                                                       PM
             2020-
            015410

12/3/2020    WCI-         WCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        4/15/2020     3:43
             INC-                    Contraband                                                            mail)                                                       PM
             2020-
            015417

12/3/2020    WCI-         WCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        4/15/2020     3:43
             INC-                    Contraband                                                            mail)                                                       PM
             2020-
            015419

12/3/2020    WCI-         WCI          Major       Drugs            Unknown              5 Pieces     Mailroom(legal    Mail Room                        4/18/2020     3:46
             INC-                    Contraband                                                            mail)                                                       PM
             2020-
            015421

12/3/2020   SOCF-       SOCF           Major       Drugs            Unknown              5 Pieces     Mailroom(legal    Mail Room                        11/25/2020    9:45
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            015423

12/3/2020    WCI-         WCI          Major       Drugs            Unknown              5 Pieces     Mailroom(legal    Mail Room                        4/29/2020     4:13
             INC-                    Contraband                                                            mail)                                                       PM
             2020-
            015459

12/3/2020    WCI-         WCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         5/5/2020     4:15
             INC-                    Contraband                                                            mail)                                                       PM
             2020-
            015460

12/3/2020    WCI-         WCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         5/4/2020     4:15
             INC-                    Contraband                                                            mail)                                                       PM
             2020-
            015461

12/3/2020    WCI-         WCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         5/5/2020     4:16
             INC-                    Contraband                                                            mail)                                                       PM
             2020-
            015462

12/3/2020    WCI-         WCI          Major       Drugs            Unknown              5 Pieces     Mailroom(legal    Mail Room                        5/15/2020     4:30
             INC-                    Contraband                                                            mail)                                                       PM
             2020-
            015473

12/3/2020    WCI-         WCI          Major       Drugs            Unknown              5 Pieces     Mailroom(legal    Mail Room                        5/14/2020     4:37
             INC-                    Contraband                                                            mail)                                                       PM
             2020-
            015481

12/3/2020    WCI-         WCI          Major       Drugs            Unknown              5 Pieces     Mailroom(legal    Mail Room                         6/4/2020     4:43
             INC-                    Contraband                                                            mail)                                                       PM
             2020-
            015485

12/3/2020    WCI-         WCI          Major       Drugs              THC                1 Pieces     Mailroom(legal    Mail Room                        6/16/2020     4:44
             INC-                    Contraband                                                            mail)                                                       PM
             2020-
            015486

12/3/2020    WCI-         WCI          Major       Drugs            Unknown              2 Pieces     Mailroom(legal    Mail Room                        6/22/2020     4:47
             INC-                    Contraband                                                            mail)                                                       PM
             2020-
            015489
Created     Incident   Institution   Type Of      Category   Suspected Type of Drugs   Amount/Units   Method Of        Location of   Number     Weapon   Date Of     Time
Date        NumberCase: 1:25-cv-00291-MWM
                            Incident      Doc #: 1-10 Filed: 05/06/25  Page: 17
                                                                   Conveyance     of 48 PAGEID
                                                                              Violence/Area of  #: 64 Incident
                                                                                               Used?                                                                 Of
                                                                                                                       where found   Inmates                         Incident
                                                                                                                                     Involved

12/3/2020    WCI-         WCI          Major       Drugs              THC                 1 Pills     Mailroom(legal    Mail Room                        6/22/2020    4:48
             INC-                    Contraband                                                            mail)                                                      PM
             2020-
            015490

12/3/2020    WCI-         WCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        6/23/2020    4:51
             INC-                    Contraband                                                            mail)                                                      PM
             2020-
            015494

12/4/2020   MANCI-      MANCI          Major       Drugs            Unknown              2 Pieces     Mailroom(legal    Mail Room                        12/3/2020    10:35
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            015501

12/7/2020    WCI-         WCI          Major       Drugs            Unknown              5 Pieces     Mailroom(legal    Mail Room                         8/5/2020    10:47
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            015594

12/7/2020    MCI-         MCI          Major       Drugs             Heroin             55 Grams      Mailroom(legal    Mail Room                        2/14/2020    12:00
             INC-                    Contraband                                                            mail)                                                       PM
             2020-
            015636

12/7/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug      2 Pieces     Mailroom(legal    Mail Room                        12/7/2020    12:30
             INC-                    Contraband                                                            mail)                                                       PM
             2020-
            015674

12/8/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1200 Pieces    Mailroom(legal    Mail Room                        12/1/2020    9:33
             INC-                    Contraband                                                            mail)                                                      AM
             2020-
            015779

12/8/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1450 Pieces    Mailroom(legal    Mail Room                        12/1/2020    9:34
             INC-                    Contraband                                                            mail)                                                      AM
             2020-
            015780

12/8/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    2000 Pieces    Mailroom(legal    Mail Room                        12/1/2020    9:35
             INC-                    Contraband                                                            mail)                                                      AM
             2020-
            015781

12/8/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1000 Pieces    Mailroom(legal    Mail Room                        12/1/2020    10:33
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            015828

12/8/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1000 Pieces    Mailroom(legal    Mail Room                        4/10/2020    3:08
             INC-                    Contraband                                                            mail)                                                      PM
             2020-
            016188

12/8/2020    MCI-         MCI          Major       Drugs     Suboxone/Buprenorphine      20 Strips    Mailroom(legal    Mail Room                        12/7/2020    3:00
             INC-                    Contraband                                                            mail)                                                      PM
             2020-
            016190

12/8/2020   LORCI-      LORCI          Major       Drugs       Other Synthetic Drug     20 Pieces     Mailroom(legal    Mail Room                        10/8/2020    12:55
             INC-                    Contraband                                                            mail)                                                       PM
             2020-
            016292

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        8/20/2020    10:09
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016634
Created     Incident   Institution   Type Of      Category   Suspected Type of Drugs   Amount/Units   Method Of        Location of   Number     Weapon   Date Of     Time
Date        NumberCase: 1:25-cv-00291-MWM
                            Incident      Doc #: 1-10 Filed: 05/06/25  Page: 18
                                                                   Conveyance     of 48 PAGEID
                                                                              Violence/Area of  #: 65 Incident
                                                                                               Used?                                                                 Of
                                                                                                                       where found   Inmates                         Incident
                                                                                                                                     Involved

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        8/20/2020    10:10
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016636

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        8/20/2020    10:11
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016639

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        8/24/2020    10:14
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016652

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        8/24/2020    10:19
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016656

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        8/24/2020    10:21
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016659

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        8/26/2020    10:23
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016664

12/9/2020    NCI-         NCI          Major       Drugs         Opioid (Pill form)    1440 Pieces    Mailroom(legal    Mail Room                        8/26/2020    10:24
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016666

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        8/26/2020    10:25
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016669

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        8/27/2020    10:26
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016671

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        8/28/2020    10:27
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016673

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        8/28/2020    10:28
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016676

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        8/28/2020    10:29
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016677

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        8/31/2020    10:32
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016678

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        8/31/2020    10:33
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016679
Created     Incident   Institution   Type Of      Category   Suspected Type of Drugs   Amount/Units   Method Of        Location of   Number     Weapon   Date Of     Time
Date        NumberCase: 1:25-cv-00291-MWM
                            Incident      Doc #: 1-10 Filed: 05/06/25  Page: 19
                                                                   Conveyance     of 48 PAGEID
                                                                              Violence/Area of  #: 66 Incident
                                                                                               Used?                                                                 Of
                                                                                                                       where found   Inmates                         Incident
                                                                                                                                     Involved

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        8/31/2020    10:34
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016680

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        8/31/2020    10:36
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016681

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        8/31/2020    10:37
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016682

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                         9/2/2020    10:38
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016684

12/9/2020    WCI-         WCI          Major       Drugs            Unknown              5 Pieces     Mailroom(legal    Mail Room                         8/5/2020    10:38
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016685

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                         9/4/2020    10:39
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016686

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        9/11/2020    10:41
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016688

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        9/14/2020    10:41
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016691

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        9/14/2020    10:42
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016693

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        9/14/2020    10:43
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016695

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        9/14/2020    10:45
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016697

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        9/14/2020    10:46
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016698

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        9/18/2020    10:48
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016699

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        9/22/2020    10:49
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016700
Created     Incident   Institution   Type Of      Category   Suspected Type of Drugs   Amount/Units   Method Of        Location of   Number     Weapon   Date Of     Time
Date        NumberCase: 1:25-cv-00291-MWM
                            Incident      Doc #: 1-10 Filed: 05/06/25  Page: 20
                                                                   Conveyance     of 48 PAGEID
                                                                              Violence/Area of  #: 67 Incident
                                                                                               Used?                                                                 Of
                                                                                                                       where found   Inmates                         Incident
                                                                                                                                     Involved

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        9/22/2020    10:51
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016701

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        9/22/2020    10:52
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016702

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        9/22/2020    10:53
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016703

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        9/22/2020    10:54
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016704

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        9/23/2020    10:55
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016705

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        9/23/2020    10:56
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016706

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        9/23/2020    10:57
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016707

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        9/25/2020    10:58
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016708

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        9/25/2020    10:59
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016709

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        9/25/2020    10:59
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016710

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        9/25/2020    11:01
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016712

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        9/25/2020    11:01
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016714

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        9/28/2020    11:02
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016716

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        9/28/2020    11:03
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016718
Created     Incident   Institution   Type Of      Category   Suspected Type of Drugs   Amount/Units   Method Of        Location of   Number     Weapon   Date Of     Time
Date        NumberCase: 1:25-cv-00291-MWM
                            Incident      Doc #: 1-10 Filed: 05/06/25  Page: 21
                                                                   Conveyance     of 48 PAGEID
                                                                              Violence/Area of  #: 68 Incident
                                                                                               Used?                                                                 Of
                                                                                                                       where found   Inmates                         Incident
                                                                                                                                     Involved

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        9/28/2020    11:04
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016719

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        9/28/2020    11:05
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016720

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        9/28/2020    11:06
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016721

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        9/30/2020    11:07
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016722

12/9/2020    NCI-         NCI          Major       Drugs         Opioid (Pill form)    1440 Pieces    Mailroom(legal    Mail Room                        9/30/2020    11:08
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016723

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        9/30/2020    11:09
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016724

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        10/5/2020    11:15
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016725

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        10/5/2020    11:16
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016726

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        10/5/2020    11:17
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016727

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        10/5/2020    11:18
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016728

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        10/7/2020    11:19
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016729

12/9/2020    WCI-         WCI          Major       Drugs            Unknown              5 Pieces     Mailroom(legal    Mail Room                        8/18/2020    11:19
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016730

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        10/8/2020    11:20
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016731

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        10/8/2020    11:21
             INC-                    Contraband                                                            mail)                                                       AM
             2020-
            016733
Created     Incident   Institution   Type Of      Category   Suspected Type of Drugs   Amount/Units   Method Of        Location of   Number     Weapon   Date Of      Time
Date        NumberCase: 1:25-cv-00291-MWM
                            Incident      Doc #: 1-10 Filed: 05/06/25  Page: 22
                                                                   Conveyance     of 48 PAGEID
                                                                              Violence/Area of  #: 69 Incident
                                                                                               Used?                                                                  Of
                                                                                                                       where found   Inmates                          Incident
                                                                                                                                     Involved

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        10/14/2020    11:23
             INC-                    Contraband                                                            mail)                                                        AM
             2020-
            016737

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        10/14/2020    11:24
             INC-                    Contraband                                                            mail)                                                        AM
             2020-
            016738

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        10/14/2020    11:25
             INC-                    Contraband                                                            mail)                                                        AM
             2020-
            016740

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        10/14/2020    11:25
             INC-                    Contraband                                                            mail)                                                        AM
             2020-
            016742

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        10/14/2020    11:27
             INC-                    Contraband                                                            mail)                                                        AM
             2020-
            016744

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        10/16/2020    11:28
             INC-                    Contraband                                                            mail)                                                        AM
             2020-
            016747

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        10/16/2020    11:28
             INC-                    Contraband                                                            mail)                                                        AM
             2020-
            016749

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        10/16/2020    11:29
             INC-                    Contraband                                                            mail)                                                        AM
             2020-
            016751

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        10/16/2020    11:30
             INC-                    Contraband                                                            mail)                                                        AM
             2020-
            016754

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        10/16/2020    11:31
             INC-                    Contraband                                                            mail)                                                        AM
             2020-
            016755

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        10/16/2020    11:32
             INC-                    Contraband                                                            mail)                                                        AM
             2020-
            016756

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        10/21/2020    11:33
             INC-                    Contraband                                                            mail)                                                        AM
             2020-
            016757

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        10/22/2020    11:34
             INC-                    Contraband                                                            mail)                                                        AM
             2020-
            016759

12/9/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        10/22/2020    11:35
             INC-                    Contraband                                                            mail)                                                        AM
             2020-
            016761
Created      Incident   Institution   Type Of      Category   Suspected Type of Drugs    Amount/Units   Method Of        Location of   Number     Weapon   Date Of      Time
Date         NumberCase: 1:25-cv-00291-MWM
                             Incident      Doc #: 1-10 Filed: 05/06/25  Page: 23
                                                                    Conveyance     of 48 PAGEID
                                                                               Violence/Area of  #: 70 Incident
                                                                                                Used?                                                                   Of
                                                                                                                         where found   Inmates                          Incident
                                                                                                                                       Involved

12/9/2020     NCI-         NCI          Major       Drugs       Other Synthetic Drug     1440 Pieces    Mailroom(legal    Mail Room                        10/23/2020    11:36
              INC-                    Contraband                                                             mail)                                                        AM
              2020-
             016763

12/9/2020     NCI-         NCI          Major       Drugs       Other Synthetic Drug     1440 Pieces    Mailroom(legal    Mail Room                        10/23/2020    11:38
              INC-                    Contraband                                                             mail)                                                        AM
              2020-
             016764

12/9/2020     NCI-         NCI          Major       Drugs       Other Synthetic Drug     1440 Pieces    Mailroom(legal    Mail Room                        10/30/2020    11:39
              INC-                    Contraband                                                             mail)                                                        AM
              2020-
             016765

12/9/2020     NCI-         NCI          Major       Drugs       Other Synthetic Drug     1440 Pieces    Mailroom(legal    Mail Room                        10/30/2020    11:40
              INC-                    Contraband                                                             mail)                                                        AM
              2020-
             016766

12/9/2020     NCI-         NCI          Major       Drugs       Other Synthetic Drug     1440 Pieces    Mailroom(legal    Mail Room                        10/30/2020    11:41
              INC-                    Contraband                                                             mail)                                                        AM
              2020-
             016767

12/9/2020     WCI-         WCI          Major       Drugs            Unknown               5 Pieces     Mailroom(legal    Mail Room                        9/15/2020     11:37
              INC-                    Contraband                                                             mail)                                                        AM
              2020-
             016768

12/9/2020     WCI-         WCI          Major       Drugs            Unknown               5 Pieces     Mailroom(legal    Mail Room                        9/15/2020     11:52
              INC-                    Contraband                                                             mail)                                                        AM
              2020-
             016770

12/9/2020     WCI-         WCI          Major       Drugs            Unknown               5 Pieces     Mailroom(legal    Mail Room                        9/15/2020     12:49
              INC-                    Contraband                                                             mail)                                                        PM
              2020-
             016783

12/9/2020     WCI-         WCI          Major       Drugs            Unknown               5 Pieces     Mailroom(legal    Mail Room                        9/23/2020     12:50
              INC-                    Contraband                                                             mail)                                                        PM
              2020-
             016784

12/9/2020     WCI-         WCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        9/23/2020     12:52
              INC-                    Contraband                                                             mail)                                                        PM
              2020-
             016785

12/9/2020     OSP-        OSP           Major       Drugs     K2 (Synthetic Marijuana)     1 Pieces     Mailroom(legal    Mail Room                        12/9/2020     12:00
              INC-                    Contraband                                                             mail)                                                        PM
              2020-
             016786

12/9/2020     MCI-         MCI          Major       Drugs       Other Synthetic Drug      124 Grams     Mailroom(legal    Mail Room                        12/8/2020     2:00
              INC-                    Contraband                                                             mail)                                                       PM
              2020-
             016789

12/10/2020    WCI-         WCI          Major       Drugs            Unknown               5 Pieces     Mailroom(legal    Mail Room                        8/24/2020     10:12
              INC-                    Contraband                                                             mail)                                                        AM
              2020-
             016816

12/10/2020    WCI-         WCI          Major       Drugs            Unknown               5 Pieces     Mailroom(legal    Mail Room                        8/20/2020     10:19
              INC-                    Contraband                                                             mail)                                                        AM
              2020-
             016817
Created      Incident   Institution   Type Of      Category   Suspected Type of Drugs   Amount/Units   Method Of        Location of   Number     Weapon   Date Of      Time
Date         NumberCase: 1:25-cv-00291-MWM
                             Incident      Doc #: 1-10 Filed: 05/06/25  Page: 24
                                                                    Conveyance     of 48 PAGEID
                                                                               Violence/Area of  #: 71 Incident
                                                                                                Used?                                                                  Of
                                                                                                                        where found   Inmates                          Incident
                                                                                                                                      Involved

12/10/2020    WCI-         WCI          Major       Drugs            Unknown              5 Pieces     Mailroom(legal    Mail Room                        10/13/2020    10:57
              INC-                    Contraband                                                            mail)                                                        AM
              2020-
             016838

12/10/2020    WCI-         WCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         8/3/2020     2:18
              INC-                    Contraband                                                            mail)                                                       PM
              2020-
             016855

12/10/2020    WCI-         WCI          Major       Drugs            Unknown              3 Pieces     Mailroom(legal    Mail Room                        11/13/2020    2:24
              INC-                    Contraband                                                            mail)                                                       PM
              2020-
             016861

12/10/2020    WCI-         WCI          Major       Drugs            Unknown                           Mailroom(legal    Mail Room                        11/27/2020    2:58
              INC-                    Contraband                                                            mail)                                                       PM
              2020-
             016873

12/10/2020    WCI-         WCI          Major       Drugs            Unknown              3 Pieces     Mailroom(legal    Mail Room                        12/7/2020     3:00
              INC-                    Contraband                                                            mail)                                                       PM
              2020-
             016874

12/10/2020    WCI-         WCI          Major       Drugs            Unknown              2 Pieces     Mailroom(legal    Mail Room                        12/7/2020     3:00
              INC-                    Contraband                                                            mail)                                                       PM
              2020-
             016875

12/11/2020   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        12/10/2020    11:45
              INC-                    Contraband                                                            mail)                                                        AM
              2020-
             016893

12/11/2020    CRC-        CRC           Major       Drugs     Suboxone/Buprenorphine      28 Strips    Mailroom(legal    Mail Room                         8/7/2020     8:50
              INC-                    Contraband                                                            mail)                                                       AM
              2020-
             016904

12/11/2020    CRC-        CRC           Major       Drugs     Suboxone/Buprenorphine      3 Strips     Mailroom(legal    Mail Room                        9/29/2020     12:52
              INC-                    Contraband      2                                                     mail)                                                        PM
              2020-
             016907

12/13/2020    DCI-         DCI          Major       Drugs            Unknown             11 Pieces     Mailroom(legal    Mail Room                        12/8/2020     9:30
              INC-                    Contraband                                                            mail)                                                       AM
              2020-
             016955

12/15/2020   SOCF-       SOCF           Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        12/11/2020    9:30
              INC-                    Contraband                                                            mail)                                                       AM
              2020-
             017138

12/15/2020    NCI-         NCI          Major       Drugs     Suboxone/Buprenorphine    1440 Pieces    Mailroom(legal    Mail Room                        10/30/2020    2:29
              INC-                    Contraband                                                            mail)                                                       PM
              2020-
             017160

12/15/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        11/4/2020     2:37
              INC-                    Contraband                                                            mail)                                                       PM
              2020-
             017161

12/15/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        10/30/2020    2:39
              INC-                    Contraband                                                            mail)                                                       PM
              2020-
             017162
Created      Incident   Institution   Type Of      Category   Suspected Type of Drugs    Amount/Units   Method Of        Location of   Number     Weapon   Date Of      Time
Date         NumberCase: 1:25-cv-00291-MWM
                             Incident      Doc #: 1-10 Filed: 05/06/25  Page: 25
                                                                    Conveyance     of 48 PAGEID
                                                                               Violence/Area of  #: 72 Incident
                                                                                                Used?                                                                   Of
                                                                                                                         where found   Inmates                          Incident
                                                                                                                                       Involved

12/15/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug     1440 Pieces    Mailroom(legal    Mail Room                        10/30/2020    2:40
              INC-                    Contraband                                                             mail)                                                       PM
              2020-
             017163

12/15/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug     1440 Pieces    Mailroom(legal    Mail Room                        11/2/2020     2:41
              INC-                    Contraband                                                             mail)                                                       PM
              2020-
             017164

12/15/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug     1440 Pieces    Mailroom(legal    Mail Room                        12/1/2020     2:44
              INC-                    Contraband                                                             mail)                                                       PM
              2020-
             017165

12/15/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug     1440 Pieces    Mailroom(legal    Mail Room                        12/3/2020     2:45
              INC-                    Contraband                                                             mail)                                                       PM
              2020-
             017166

12/15/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug     1440 Pieces    Mailroom(legal    Mail Room                        12/3/2020     2:47
              INC-                    Contraband                                                             mail)                                                       PM
              2020-
             017167

12/15/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug     1440 Pieces    Mailroom(legal    Mail Room                        12/8/2020     2:47
              INC-                    Contraband                                                             mail)                                                       PM
              2020-
             017168

12/15/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug     1440 Pieces    Mailroom(legal    Mail Room                        12/9/2020     2:50
              INC-                    Contraband                                                             mail)                                                       PM
              2020-
             017169

12/15/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug     1440 Pieces    Mailroom(legal    Mail Room                        12/11/2020    2:51
              INC-                    Contraband                                                             mail)                                                       PM
              2020-
             017170

12/15/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug     1440 Pieces    Mailroom(legal    Mail Room                        12/11/2020    2:52
              INC-                    Contraband                                                             mail)                                                       PM
              2020-
             017171

12/16/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        12/15/2020    9:05
              INC-                    Contraband                                                             mail)                                                       AM
              2020-
             017176

12/16/2020   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        12/15/2020    9:18
              INC-                    Contraband                                                             mail)                                                       AM
              2020-
             017177

12/16/2020   MANCI-      MANCI          Major       Drugs     K2 (Synthetic Marijuana)     1 Pieces     Mailroom(legal    Mail Room                        12/14/2020    9:30
              INC-                    Contraband                                                             mail)                                                       AM
              2020-
             017181

12/16/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug     4320 Pieces    Mailroom(legal    Mail Room                        8/17/2020     10:00
              INC-                    Contraband                                                             mail)                                                        AM
              2020-
             017211

12/16/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug     2880 Pieces    Mailroom(legal    Mail Room                        9/11/2020     12:00
              INC-                    Contraband                                                             mail)                                                        PM
              2020-
             017213
Created      Incident   Institution   Type Of      Category   Suspected Type of Drugs    Amount/Units   Method Of        Location of     Number     Weapon   Date Of      Time
Date         NumberCase: 1:25-cv-00291-MWM
                             Incident      Doc #: 1-10 Filed: 05/06/25  Page: 26
                                                                    Conveyance     of 48 PAGEID
                                                                               Violence/Area of  #: 73 Incident
                                                                                                Used?                                                                     Of
                                                                                                                         where found     Inmates                          Incident
                                                                                                                                         Involved

12/17/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug     1440 Pieces    Mailroom(legal    Mail Room                          8/20/2020     8:43
              INC-                    Contraband                                                             mail)                                                         AM
              2020-
             017221

12/17/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug     1440 Pieces    Mailroom(legal    Mail Room                          8/20/2020     10:28
              INC-                    Contraband                                                             mail)                                                          AM
              2020-
             017231

12/17/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug     1440 Pieces    Mailroom(legal    Mail Room                           7/6/2020     10:42
              INC-                    Contraband                                                             mail)                                                          AM
              2020-
             017237

12/17/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug     1440 Pieces    Mailroom(legal    Mail Room                          3/31/2020     10:44
              INC-                    Contraband                                                             mail)                                                          AM
              2020-
             017238

12/17/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug     1440 Pieces    Mailroom(legal    Mail Room                          5/29/2020     10:47
              INC-                    Contraband                                                             mail)                                                          AM
              2020-
             017239

12/17/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug     1440 Pieces    Mailroom(legal    Mail Room                          2/28/2020     10:53
              INC-                    Contraband                                                             mail)                                                          AM
              2020-
             017240

12/17/2020   SOCF-       SOCF           Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                          12/11/2020    9:30
              INC-                    Contraband                                                             mail)                                                         AM
              2020-
             017262

12/21/2020   NEOCC-     NEOCC           Major       Drugs     K2 (Synthetic Marijuana)     1 Pieces     Mailroom(legal     Program                           12/14/2020    12:00
              INC-                    Contraband                                                             mail)           Area/                                          PM
              2020-                                                                                                      Multipurpose
             017418                                                                                                         (not in
                                                                                                                         Housing unit)

12/22/2020    CCI-         CCI          Major       Drugs            Unknown               1 Grams      Mailroom(legal    Mail Room                          12/21/2020    12:00
              INC-                    Contraband                                                             mail)                                                          PM
              2020-
             017463

12/22/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug     1440 Pieces    Mailroom(legal    Mail Room                          12/22/2020    4:01
              INC-                    Contraband                                                             mail)                                                         PM
              2020-
             017524

12/24/2020    WCI-         WCI          Major       Drugs            Unknown               5 Pieces     Mailroom(legal    Mail Room                          12/14/2020    10:16
              INC-                    Contraband                                                             mail)                                                          AM
              2020-
             017587

12/24/2020    WCI-         WCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                          12/14/2020    10:21
              INC-                    Contraband                                                             mail)                                                          AM
              2020-
             017589

12/24/2020    WCI-         WCI          Major       Drugs              THC                 5 Pieces     Mailroom(legal    Mail Room                          12/14/2020    10:22
              INC-                    Contraband                                                             mail)                                                          AM
              2020-
             017590

12/24/2020    WCI-         WCI          Major       Drugs            Unknown               5 Pieces     Mailroom(legal    Mail Room                          12/14/2020    10:23
              INC-                    Contraband                                                             mail)                                                          AM
              2020-
             017591
Created      Incident   Institution   Type Of      Category   Suspected Type of Drugs    Amount/Units   Method Of        Location of     Number     Weapon   Date Of      Time
Date         NumberCase: 1:25-cv-00291-MWM
                             Incident      Doc #: 1-10 Filed: 05/06/25  Page: 27
                                                                    Conveyance     of 48 PAGEID
                                                                               Violence/Area of  #: 74 Incident
                                                                                                Used?                                                                     Of
                                                                                                                         where found     Inmates                          Incident
                                                                                                                                         Involved

12/24/2020    WCI-         WCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                          12/22/2020    10:37
              INC-                    Contraband                                                             mail)                                                          AM
              2020-
             017598

12/28/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug     1440 Pieces    Mailroom(legal    Mail Room                          12/28/2020    12:00
              INC-                    Contraband                                                             mail)                                                          PM
              2020-
             017653

12/28/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug     1440 Pieces    Mailroom(legal    Mail Room                          12/28/2020    12:00
              INC-                    Contraband                                                             mail)                                                          PM
              2020-
             017654

12/28/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug     1440 Pieces    Mailroom(legal    Mail Room                          12/28/2020    12:10
              INC-                    Contraband                                                             mail)                                                          PM
              2020-
             017655

12/30/2020     TCI-        TCI          Major       Drugs            Unknown                            Mailroom(legal    Mail Room                           5/8/2020     9:00
              INC-                    Contraband                                                             mail)                                                         AM
              2020-
             017753

12/30/2020     TCI-        TCI          Major       Drugs            Unknown                            Mailroom(legal    Mail Room                           5/8/2020     9:00
              INC-                    Contraband                                                             mail)                                                         AM
              2020-
             017754

12/30/2020     TCI-        TCI          Major       Drugs            Unknown                            Mailroom(legal    Mail Room                           3/6/2020     9:00
              INC-                    Contraband                                                             mail)                                                         AM
              2020-
             017755

12/30/2020     TCI-        TCI          Major       Drugs            Unknown                            Mailroom(legal    Mail Room                          4/24/2020     3:00
              INC-                    Contraband                                                             mail)                                                         PM
              2020-
             017756

12/30/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug     1440 Pieces    Mailroom(legal    Mail Room                          12/30/2020    2:18
              INC-                    Contraband                                                             mail)                                                         PM
              2020-
             017765

12/30/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug     1440 Pieces    Mailroom(legal    Mail Room                          12/30/2020    2:20
              INC-                    Contraband                                                             mail)                                                         PM
              2020-
             017766

12/30/2020    NCI-         NCI          Major       Drugs       Other Synthetic Drug     1440 Pieces    Mailroom(legal    Mail Room                          12/30/2020    2:24
              INC-                    Contraband                                                             mail)                                                         PM
              2020-
             017767

12/31/2020     TCI-        TCI          Major       Drugs            Unknown                            Mailroom(legal   Housing Unit-                       12/30/2020    8:30
              INC-                    Contraband                                                             mail)         Bed/Cell                                        AM
              2020-
             017788

 1/4/2021     WCI-         WCI          Major       Drugs            Unknown               5 Pieces     Mailroom(legal    Mail Room                          12/28/2020    10:59
              INC-                    Contraband                                                             mail)                                                          AM
              2021-
             000063

 1/5/2021     OSP-        OSP           Major       Drugs     K2 (Synthetic Marijuana)    10 Pieces     Mailroom(legal    Mail Room                           1/4/2021     2:00
              INC-                    Contraband                                                             mail)                                                         PM
              2021-
             000190
Created     Incident   Institution   Type Of      Category   Suspected Type of Drugs   Amount/Units   Method Of        Location of   Number     Weapon   Date Of      Time
Date        NumberCase: 1:25-cv-00291-MWM
                            Incident      Doc #: 1-10 Filed: 05/06/25  Page: 28
                                                                   Conveyance     of 48 PAGEID
                                                                              Violence/Area of  #: 75 Incident
                                                                                               Used?                                                                  Of
                                                                                                                       where found   Inmates                          Incident
                                                                                                                                     Involved

 1/7/2021   SOCF-       SOCF           Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        12/23/2020    9:00
             INC-                    Contraband                                                            mail)                                                       AM
             2021-
            000236

 1/7/2021   SOCF-       SOCF           Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        12/23/2020    9:00
             INC-                    Contraband                                                            mail)                                                       AM
             2021-
            000237

 1/7/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         1/6/2021     8:30
             INC-                    Contraband                                                            mail)                                                       AM
             2021-
            000250

1/11/2021    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        12/8/2020     3:57
             INC-                    Contraband                                                            mail)                                                       PM
             2021-
            000435

1/11/2021    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        12/8/2020     3:58
             INC-                    Contraband                                                            mail)                                                       PM
             2021-
            000436

1/11/2021    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        12/8/2020     4:00
             INC-                    Contraband                                                            mail)                                                       PM
             2021-
            000437

1/11/2021    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        12/8/2020     4:01
             INC-                    Contraband                                                            mail)                                                       PM
             2021-
            000438

1/11/2021    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        12/11/2020    4:02
             INC-                    Contraband                                                            mail)                                                       PM
             2021-
            000439

1/11/2021    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        12/28/2020    4:03
             INC-                    Contraband                                                            mail)                                                       PM
             2021-
            000440

1/11/2021    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        12/31/2020    4:05
             INC-                    Contraband                                                            mail)                                                       PM
             2021-
            000441

1/11/2021    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                        12/28/2020    4:06
             INC-                    Contraband                                                            mail)                                                       PM
             2021-
            000442

1/11/2021    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                         1/5/2021     4:07
             INC-                    Contraband                                                            mail)                                                       PM
             2021-
            000443

1/11/2021    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                         1/5/2021     4:08
             INC-                    Contraband                                                            mail)                                                       PM
             2021-
            000444

1/11/2021    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                         1/5/2021     4:13
             INC-                    Contraband                                                            mail)                                                       PM
             2021-
            000445
Created     Incident   Institution   Type Of      Category   Suspected Type of Drugs   Amount/Units   Method Of        Location of   Number     Weapon   Date Of     Time
Date        NumberCase: 1:25-cv-00291-MWM
                            Incident      Doc #: 1-10 Filed: 05/06/25  Page: 29
                                                                   Conveyance     of 48 PAGEID
                                                                              Violence/Area of  #: 76 Incident
                                                                                               Used?                                                                 Of
                                                                                                                       where found   Inmates                         Incident
                                                                                                                                     Involved

1/11/2021    NCI-         NCI          Major       Drugs       Other Synthetic Drug    1440 Pieces    Mailroom(legal    Mail Room                         1/4/2021    4:14
             INC-                    Contraband                                                            mail)                                                      PM
             2021-
            000446

1/13/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        1/12/2021    8:25
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            000534

1/14/2021     TCI-        TCI          Major       Drugs            Unknown                           Mailroom(legal    Mail Room                         1/7/2021    11:30
             INC-                    Contraband                                                            mail)                                                       AM
             2021-
            000628

1/19/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        1/15/2021    11:40
             INC-                    Contraband                                                            mail)                                                       AM
             2021-
            000801

1/20/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        1/19/2021    8:00
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            000905

1/20/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        1/19/2021    8:00
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            000906

1/20/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        1/19/2021    11:00
             INC-                    Contraband                                                            mail)                                                       AM
             2021-
            000907

1/20/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        1/19/2021    11:15
             INC-                    Contraband                                                            mail)                                                       AM
             2021-
            000908

1/20/2021   SOCF-       SOCF           Major       Drugs            Unknown                 1         Mailroom(legal    Mail Room                        1/15/2021    1:00
             INC-                    Contraband                                                            mail)                                                      PM
             2021-
            000956

1/20/2021   SOCF-       SOCF           Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        1/15/2021    1:00
             INC-                    Contraband                                                            mail)                                                      PM
             2021-
            000957

1/22/2021    WCI-         WCI          Major       Drugs            Unknown              5 Pieces     Mailroom(legal    Mail Room                        1/11/2021    11:29
             INC-                    Contraband                                                            mail)                                                       AM
             2021-
            001049

1/22/2021    WCI-         WCI          Major       Drugs            Unknown              5 Pieces     Mailroom(legal    Mail Room                        1/19/2021    11:31
             INC-                    Contraband                                                            mail)                                                       AM
             2021-
            001050

1/22/2021    WCI-         WCI          Major       Drugs            Unknown              5 Pieces     Mailroom(legal    Mail Room                        1/19/2021    11:31
             INC-                    Contraband                                                            mail)                                                       AM
             2021-
            001051

1/22/2021    WCI-         WCI          Major       Drugs            Unknown              5 Pieces     Mailroom(legal    Mail Room                        1/15/2021    11:33
             INC-                    Contraband                                                            mail)                                                       AM
             2021-
            001052
Created     Incident   Institution   Type Of      Category   Suspected Type of Drugs   Amount/Units   Method Of        Location of   Number     Weapon   Date Of     Time
Date        NumberCase: 1:25-cv-00291-MWM
                            Incident      Doc #: 1-10 Filed: 05/06/25  Page: 30
                                                                   Conveyance     of 48 PAGEID
                                                                              Violence/Area of  #: 77 Incident
                                                                                               Used?                                                                 Of
                                                                                                                       where found   Inmates                         Incident
                                                                                                                                     Involved

1/25/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        1/22/2021    10:20
             INC-                    Contraband                                                            mail)                                                       AM
             2021-
            001125

1/25/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        1/22/2021    10:15
             INC-                    Contraband                                                            mail)                                                       AM
             2021-
            001126

1/25/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        1/22/2021    7:30
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            001127

1/25/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        1/22/2021    12:52
             INC-                    Contraband                                                            mail)                                                       PM
             2021-
            001129

1/25/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        1/22/2021    12:45
             INC-                    Contraband                                                            mail)                                                       PM
             2021-
            001130

1/25/2021   LORCI-      LORCI          Major       Drugs       Other Synthetic Drug      1 Pieces     Mailroom(legal    Mail Room                         1/8/2021    11:10
             INC-                    Contraband                                                            mail)                                                       AM
             2021-
            001147

1/25/2021   LORCI-      LORCI          Major       Drugs       Other Synthetic Drug      1 Pieces     Mailroom(legal    Mail Room                        1/22/2021    11:00
             INC-                    Contraband                                                            mail)                                                       AM
             2021-
            001149

1/25/2021   LORCI-      LORCI          Major       Drugs       Other Synthetic Drug      1 Pieces     Mailroom(legal    Mail Room                        1/22/2021    10:00
             INC-                    Contraband                                                            mail)                                                       AM
             2021-
            001151

1/26/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        1/25/2021    1:25
             INC-                    Contraband                                                            mail)                                                      PM
             2021-
            001232

1/26/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        1/25/2021    1:20
             INC-                    Contraband                                                            mail)                                                      PM
             2021-
            001233

1/26/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        1/25/2021    12:34
             INC-                    Contraband                                                            mail)                                                       PM
             2021-
            001236

1/27/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        1/26/2021    9:15
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            001289

1/27/2021    WCI-         WCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        1/21/2021    3:12
             INC-                    Contraband                                                            mail)                                                      PM
             2021-
            001353

1/27/2021    WCI-         WCI          Major       Drugs            Unknown              5 Pieces     Mailroom(legal    Mail Room                        1/21/2021    3:14
             INC-                    Contraband                                                            mail)                                                      PM
             2021-
            001355
Created     Incident   Institution   Type Of      Category   Suspected Type of Drugs    Amount/Units   Method Of        Location of     Number     Weapon   Date Of      Time
Date        NumberCase: 1:25-cv-00291-MWM
                            Incident      Doc #: 1-10 Filed: 05/06/25  Page: 31
                                                                   Conveyance     of 48 PAGEID
                                                                              Violence/Area of  #: 78 Incident
                                                                                               Used?                                                                     Of
                                                                                                                        where found     Inmates                          Incident
                                                                                                                                        Involved

1/28/2021    CCI-         CCI          Major       Drugs     K2 (Synthetic Marijuana)     4 Pieces     Mailroom(legal    Mail Room                          12/18/2020    8:00
             INC-                    Contraband                                                             mail)                                                         AM
             2021-
            001453

1/29/2021   LORCI-      LORCI          Major       Drugs       Other Synthetic Drug      30 Pieces     Mailroom(legal   Housing Unit-                       1/25/2021     8:55
             INC-                    Contraband                                                             mail)         Bed/Cell                                        AM
             2021-
            001501

1/29/2021   LORCI-      LORCI          Major       Drugs       Other Synthetic Drug      27 Pieces     Mailroom(legal    Mail Room                          1/26/2021     12:00
             INC-                    Contraband                                                             mail)                                                          PM
             2021-
            001502

1/29/2021   LORCI-      LORCI          Major       Drugs       Other Synthetic Drug       5 Pieces     Mailroom(legal    Mail Room                          1/29/2021     8:30
             INC-                    Contraband                                                             mail)                                                         AM
             2021-
            001503

1/29/2021   LORCI-      LORCI          Major       Drugs       Other Synthetic Drug       6 Pieces     Mailroom(legal    Mail Room                          1/29/2021     8:30
             INC-                    Contraband                                                             mail)                                                         AM
             2021-
            001504

1/29/2021   LORCI-      LORCI          Major       Drugs       Other Synthetic Drug       4 Pieces     Mailroom(legal    Mail Room                          1/29/2021     11:00
             INC-                    Contraband                                                             mail)                                                          AM
             2021-
            001510

 2/2/2021    WCI-         WCI          Major       Drugs            Unknown               5 Pieces     Mailroom(legal    Mail Room                          1/28/2021     5:10
             INC-                    Contraband                                                             mail)                                                         PM
             2021-
            001757

 2/8/2021   LORCI-      LORCI          Major       Drugs       Other Synthetic Drug       1 Pieces     Mailroom(legal    Mail Room                           2/5/2021     11:50
             INC-                    Contraband                                                             mail)                                                          AM
             2021-
            001982

 2/8/2021   LORCI-      LORCI          Major       Drugs       Other Synthetic Drug      10 Pieces     Mailroom(legal    Mail Room                           2/5/2021     11:50
             INC-                    Contraband                                                             mail)                                                          AM
             2021-
            001983

 2/8/2021   LORCI-      LORCI          Major       Drugs       Other Synthetic Drug       2 Pieces     Mailroom(legal    Mail Room                           2/5/2021     11:50
             INC-                    Contraband                                                             mail)                                                          AM
             2021-
            001984

2/10/2021   LORCI-      LORCI          Major       Drugs       Other Synthetic Drug       1 Pieces     Mailroom(legal    Mail Room                           2/9/2021     11:30
             INC-                    Contraband                                                             mail)                                                          AM
             2021-
            002133

2/12/2021   MANCI-      MANCI          Major       Drugs            Unknown               2 Pieces     Mailroom(legal    Mail Room                          2/11/2021     7:16
             INC-                    Contraband                                                             mail)                                                         AM
             2021-
            002290

2/16/2021    LOCI-       LOCI          Major       Drugs        Methamphetamine           2 Grams      Mailroom(legal    Mail Room                          2/10/2021     3:00
              INC-                   Contraband                                                             mail)                                                         PM
             2021-
            002404

2/19/2021    MCI-         MCI          Major       Drugs             Heroin              14 Grams      Mailroom(legal    Mail Room                          2/18/2021     1:28
             INC-                    Contraband                                                             mail)                                                         PM
             2021-
            002728
Created     Incident   Institution   Type Of      Category   Suspected Type of Drugs    Amount/Units   Method Of        Location of   Number     Weapon   Date Of     Time
Date        NumberCase: 1:25-cv-00291-MWM
                            Incident      Doc #: 1-10 Filed: 05/06/25  Page: 32
                                                                   Conveyance     of 48 PAGEID
                                                                              Violence/Area of  #: 79 Incident
                                                                                               Used?                                                                  Of
                                                                                                                        where found   Inmates                         Incident
                                                                                                                                      Involved

2/22/2021   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        2/19/2021    9:31
             INC-                    Contraband                                                             mail)                                                      AM
             2021-
            002772

2/22/2021   MANCI-      MANCI          Major       Drugs              THC                 1 Pieces     Mailroom(legal    Mail Room                        2/19/2021    8:19
             INC-                    Contraband                                                             mail)                                                      AM
             2021-
            002773

2/22/2021   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        2/19/2021    9:25
             INC-                    Contraband                                                             mail)                                                      AM
             2021-
            002775

2/22/2021   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        2/19/2021    9:23
             INC-                    Contraband                                                             mail)                                                      AM
             2021-
            002776

2/23/2021   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        2/22/2021    9:18
             INC-                    Contraband                                                             mail)                                                      AM
             2021-
            002855

2/25/2021   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        2/24/2021    1:15
             INC-                    Contraband                                                             mail)                                                      PM
             2021-
            003043

2/25/2021   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        2/24/2021    7:03
             INC-                    Contraband                                                             mail)                                                      AM
             2021-
            003044

2/25/2021   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        2/24/2021    9:04
             INC-                    Contraband                                                             mail)                                                      AM
             2021-
            003045

2/25/2021   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        2/24/2021    10:04
             INC-                    Contraband                                                             mail)                                                       AM
             2021-
            003046

2/25/2021    OSP-        OSP           Major       Drugs     K2 (Synthetic Marijuana)     5 Pieces     Mailroom(legal    Mail Room                        2/25/2021    11:45
             INC-                    Contraband                                                             mail)                                                       AM
             2021-
            003061

 3/1/2021   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        2/26/2021    8:11
             INC-                    Contraband                                                             mail)                                                      AM
             2021-
            003179

 3/2/2021   LORCI-      LORCI          Major       Drugs       Other Synthetic Drug       2 Pieces     Mailroom(legal    Mail Room                        2/26/2021    11:30
             INC-                    Contraband                                                             mail)                                                       AM
             2021-
            003284

 3/2/2021     TCI-        TCI          Major       Drugs            Unknown                            Mailroom(legal    Mail Room                        2/16/2021    10:00
             INC-                    Contraband                                                             mail)                                                       AM
             2021-
            003305

 3/3/2021   MANCI-      MANCI          Major       Drugs     K2 (Synthetic Marijuana)     2 Pieces     Mailroom(legal    Mail Room                         3/2/2021    11:05
             INC-                    Contraband                                                             mail)                                                       AM
             2021-
            003348
Created     Incident   Institution   Type Of      Category   Suspected Type of Drugs   Amount/Units   Method Of        Location of   Number     Weapon   Date Of     Time
Date        NumberCase: 1:25-cv-00291-MWM
                            Incident      Doc #: 1-10 Filed: 05/06/25  Page: 33
                                                                   Conveyance     of 48 PAGEID
                                                                              Violence/Area of  #: 80 Incident
                                                                                               Used?                                                                 Of
                                                                                                                       where found   Inmates                         Incident
                                                                                                                                     Involved

 3/3/2021   MACI-        MACI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         3/2/2021    9:00
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            003354

 3/8/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         3/5/2021    1:03
             INC-                    Contraband                                                            mail)                                                      PM
             2021-
            003521

 3/8/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal   Maintenance                        3/5/2021    9:10
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            003522

3/10/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         3/9/2021    7:00
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            003694

3/11/2021    WCI-         WCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         3/1/2021    1:45
             INC-                    Contraband                                                            mail)                                                      PM
             2021-
            003792

3/11/2021    WCI-         WCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         3/1/2021    1:46
             INC-                    Contraband                                                            mail)                                                      PM
             2021-
            003793

3/17/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        3/16/2021    6:55
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            004053

3/22/2021   LORCI-      LORCI          Major       Drugs       Other Synthetic Drug     15 Pieces     Mailroom(legal    Mail Room                        3/15/2021    10:30
             INC-                    Contraband                                                            mail)                                                       AM
             2021-
            004276

3/24/2021    WCI-         WCI          Major       Drugs            Unknown              5 Pieces     Mailroom(legal    Mail Room                        3/10/2021    3:50
             INC-                    Contraband                                                            mail)                                                      PM
             2021-
            004457

3/25/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        3/24/2021    11:40
             INC-                    Contraband                                                            mail)                                                       AM
             2021-
            004462

3/25/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        3/24/2021    9:06
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            004463

3/25/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        3/24/2021    6:30
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            004464

3/26/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        3/25/2021    8:32
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            004561

3/29/2021   MACI-        MACI          Major       Drugs            Unknown              4 Pieces     Mailroom(legal    Mail Room                        3/26/2021    1:00
             INC-                    Contraband                                                            mail)                                                      PM
             2021-
            004625
Created     Incident   Institution   Type Of      Category   Suspected Type of Drugs   Amount/Units   Method Of        Location of   Number     Weapon   Date Of     Time
Date        NumberCase: 1:25-cv-00291-MWM
                            Incident      Doc #: 1-10 Filed: 05/06/25  Page: 34
                                                                   Conveyance     of 48 PAGEID
                                                                              Violence/Area of  #: 81 Incident
                                                                                               Used?                                                                 Of
                                                                                                                       where found   Inmates                         Incident
                                                                                                                                     Involved

3/31/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        3/30/2021    6:30
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            004818

3/31/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        3/30/2021    6:55
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            004820

3/31/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        3/30/2021    12:11
             INC-                    Contraband                                                            mail)                                                       PM
             2021-
            004821

 4/5/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         4/2/2021    8:56
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            005010

 4/7/2021   MACI-        MACI          Major       Drugs            Unknown              2 Grams      Mailroom(legal    Mail Room                         4/6/2021    10:50
             INC-                    Contraband                                                            mail)                                                       AM
             2021-
            005166

 4/8/2021    NCI-         NCI          Major       Drugs       Other Synthetic Drug     720 Pieces    Mailroom(legal    Mail Room                        1/11/2021    12:00
             INC-                    Contraband                                                            mail)                                                       PM
             2021-
            005260

 4/9/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         4/8/2021    6:16
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            005282

 4/9/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         4/8/2021    6:17
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            005283

 4/9/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         4/8/2021    7:17
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            005284

 4/9/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         4/8/2021    8:18
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            005285

 4/9/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         4/8/2021    7:19
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            005286

4/12/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         4/9/2021    6:25
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            005375

4/12/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         4/9/2021    6:31
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            005376

4/12/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         4/9/2021    6:41
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            005377
Created     Incident   Institution   Type Of      Category   Suspected Type of Drugs    Amount/Units   Method Of        Location of   Number     Weapon   Date Of     Time
Date        NumberCase: 1:25-cv-00291-MWM
                            Incident      Doc #: 1-10 Filed: 05/06/25  Page: 35
                                                                   Conveyance     of 48 PAGEID
                                                                              Violence/Area of  #: 82 Incident
                                                                                               Used?                                                                  Of
                                                                                                                        where found   Inmates                         Incident
                                                                                                                                      Involved

4/13/2021   MACI-        MACI          Major       Drugs            Unknown               2 Pieces     Mailroom(legal    Mail Room                         4/8/2021    9:30
             INC-                    Contraband                                                             mail)                                                      AM
             2021-
            005510

4/14/2021    BECI-       BECI          Major       Drugs       Other Synthetic Drug       1 Pieces     Mailroom(legal    Mail Room                        4/12/2021    9:45
             INC-                    Contraband                                                             mail)                                                      AM
             2021-
            005557

4/15/2021   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        4/13/2021    8:43
             INC-                    Contraband                                                             mail)                                                      AM
             2021-
            005596

4/16/2021   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        4/15/2021    8:50
             INC-                    Contraband                                                             mail)                                                      AM
             2021-
            005659

4/16/2021   MANCI-      MANCI          Major       Drugs     K2 (Synthetic Marijuana)     1 Pieces     Mailroom(legal    Mail Room                        4/15/2021    9:51
             INC-                    Contraband                                                             mail)                                                      AM
             2021-
            005660

4/16/2021   MACI-        MACI          Major       Drugs     K2 (Synthetic Marijuana)     1 Pieces     Mailroom(legal   Maintenance                       4/15/2021    9:56
             INC-                    Contraband                                                             mail)                                                      AM
             2021-
            005661

4/16/2021   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        4/15/2021    7:54
             INC-                    Contraband                                                             mail)                                                      AM
             2021-
            005662

4/19/2021   LORCI-      LORCI          Major       Drugs       Other Synthetic Drug       4 Pieces     Mailroom(legal    Mail Room                        4/15/2021    10:00
             INC-                    Contraband                                                             mail)                                                       AM
             2021-
            005784

4/19/2021   LORCI-      LORCI          Major       Drugs       Other Synthetic Drug       1 Pieces     Mailroom(legal    Mail Room                        4/14/2021    11:00
             INC-                    Contraband                                                             mail)                                                       AM
             2021-
            005785

4/22/2021   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        4/21/2021    7:27
             INC-                    Contraband                                                             mail)                                                      AM
             2021-
            005967

4/22/2021   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        4/21/2021    8:28
             INC-                    Contraband                                                             mail)                                                      AM
             2021-
            005968

4/22/2021   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        4/21/2021    9:29
             INC-                    Contraband                                                             mail)                                                      AM
             2021-
            005969

4/22/2021   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        4/21/2021    8:30
             INC-                    Contraband                                                             mail)                                                      AM
             2021-
            005970

4/26/2021   MACI-        MACI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        4/23/2021    7:45
             INC-                    Contraband                                                             mail)                                                      AM
             2021-
            006116
Created     Incident   Institution   Type Of      Category   Suspected Type of Drugs   Amount/Units   Method Of        Location of   Number     Weapon   Date Of     Time
Date        NumberCase: 1:25-cv-00291-MWM
                            Incident      Doc #: 1-10 Filed: 05/06/25  Page: 36
                                                                   Conveyance     of 48 PAGEID
                                                                              Violence/Area of  #: 83 Incident
                                                                                               Used?                                                                 Of
                                                                                                                       where found   Inmates                         Incident
                                                                                                                                     Involved

4/27/2021    WCI-         WCI          Major       Drugs            Unknown              5 Pieces     Mailroom(legal    Mail Room                        4/14/2021    4:22
             INC-                    Contraband                                                            mail)                                                      PM
             2021-
            006303

4/27/2021    WCI-         WCI          Major       Drugs            Unknown              5 Pieces     Mailroom(legal    Mail Room                        4/14/2021    4:23
             INC-                    Contraband                                                            mail)                                                      PM
             2021-
            006304

4/27/2021    WCI-         WCI          Major       Drugs            Unknown              2 Pieces     Mailroom(legal    Mail Room                        4/14/2021    4:24
             INC-                    Contraband                                                            mail)                                                      PM
             2021-
            006305

4/27/2021    WCI-         WCI          Major       Drugs            Unknown              5 Pieces     Mailroom(legal    Mail Room                        4/14/2021    4:25
             INC-                    Contraband                                                            mail)                                                      PM
             2021-
            006306

4/28/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        4/27/2021    10:52
             INC-                    Contraband                                                            mail)                                                       AM
             2021-
            006327

4/28/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        4/27/2021    9:55
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            006328

4/28/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        4/27/2021    1:57
             INC-                    Contraband                                                            mail)                                                      PM
             2021-
            006329

4/28/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        4/27/2021    8:59
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            006330

4/28/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        4/27/2021    9:00
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            006331

4/28/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        4/27/2021    9:01
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            006332

4/28/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        4/27/2021    9:02
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            006333

4/28/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        4/27/2021    9:02
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            006334

4/28/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        4/27/2021    9:04
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            006335

4/28/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        4/27/2021    9:05
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            006337
Created     Incident   Institution   Type Of      Category   Suspected Type of Drugs   Amount/Units   Method Of        Location of   Number     Weapon   Date Of     Time
Date        NumberCase: 1:25-cv-00291-MWM
                            Incident      Doc #: 1-10 Filed: 05/06/25  Page: 37
                                                                   Conveyance     of 48 PAGEID
                                                                              Violence/Area of  #: 84 Incident
                                                                                               Used?                                                                 Of
                                                                                                                       where found   Inmates                         Incident
                                                                                                                                     Involved

4/28/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        4/27/2021    10:06
             INC-                    Contraband                                                            mail)                                                       AM
             2021-
            006338

4/28/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        4/27/2021    9:07
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            006340

4/28/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        4/27/2021    9:08
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            006342

 5/6/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         5/5/2021    6:29
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            006739

 5/6/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         5/5/2021    12:30
             INC-                    Contraband                                                            mail)                                                       PM
             2021-
            006741

 5/7/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         5/6/2021    7:06
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            006791

5/11/2021   MACI-        MACI          Major       Drugs            Unknown              2 Pieces     Mailroom(legal    Mail Room                        5/10/2021    1:00
             INC-                    Contraband      2                                                     mail)                                                      PM
             2021-
            006957

5/12/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        5/11/2021    9:20
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            007000

5/12/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        5/11/2021    9:21
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            007001

5/12/2021    LECI-       LECI          Major       Drugs            Unknown                           Mailroom(legal    Mail Room                         5/4/2021    7:30
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            007081

5/13/2021    OSP-        OSP           Major       Drugs            Unknown              Pieces       Mailroom(legal    Mail Room                        5/12/2021    10:47
             INC-                    Contraband                                                            mail)                                                       AM
             2021-
            007187

5/18/2021    WCI-         WCI          Major       Drugs            Unknown              5 Pieces     Mailroom(legal    Mail Room                        5/12/2021    3:46
             INC-                    Contraband                                                            mail)                                                      PM
             2021-
            007450

5/18/2021    WCI-         WCI          Major       Drugs            Unknown              5 Pieces     Mailroom(legal    Mail Room                        5/12/2021    3:47
             INC-                    Contraband                                                            mail)                                                      PM
             2021-
            007451

5/18/2021    WCI-         WCI          Major       Drugs            Unknown              5 Pieces     Mailroom(legal    Mail Room                        5/12/2021    3:47
             INC-                    Contraband                                                            mail)                                                      PM
             2021-
            007452
Created     Incident   Institution   Type Of      Category   Suspected Type of Drugs   Amount/Units   Method Of        Location of   Number     Weapon   Date Of     Time
Date        NumberCase: 1:25-cv-00291-MWM
                            Incident      Doc #: 1-10 Filed: 05/06/25  Page: 38
                                                                   Conveyance     of 48 PAGEID
                                                                              Violence/Area of  #: 85 Incident
                                                                                               Used?                                                                 Of
                                                                                                                       where found   Inmates                         Incident
                                                                                                                                     Involved

5/18/2021    WCI-         WCI          Major       Drugs            Unknown              5 Pieces     Mailroom(legal    Mail Room                        5/12/2021    3:48
             INC-                    Contraband                                                            mail)                                                      PM
             2021-
            007453

5/18/2021    WCI-         WCI          Major       Drugs            Unknown              5 Pieces     Mailroom(legal    Mail Room                        5/12/2021    3:48
             INC-                    Contraband                                                            mail)                                                      PM
             2021-
            007454

5/19/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        5/18/2021    12:45
             INC-                    Contraband                                                            mail)                                                       PM
             2021-
            007470

5/19/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        5/18/2021    10:44
             INC-                    Contraband                                                            mail)                                                       AM
             2021-
            007471

5/25/2021    CCI-         CCI          Major       Drugs            Unknown                           Mailroom(legal    Mail Room                        5/24/2021    6:45
             INC-                    Contraband      2                                                     mail)                                                      AM
             2021-
            007769

5/26/2021   MACI-        MACI          Major       Drugs            Unknown              2 Pieces     Mailroom(legal    Mail Room                        5/25/2021    1:00
             INC-                    Contraband      2                                                     mail)                                                      PM
             2021-
            007832

 6/1/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        5/27/2021    9:28
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            008008

 6/1/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        5/27/2021    10:31
             INC-                    Contraband                                                            mail)                                                       AM
             2021-
            008010

 6/1/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        5/27/2021    9:32
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            008011

 6/1/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        5/27/2021    9:34
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            008012

 6/2/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         6/1/2021    6:23
             INC-                    Contraband                                                            mail)                                                      AM
             2021-
            008123

 6/2/2021    WCI-         WCI          Major       Drugs            Unknown              5 Pieces     Mailroom(legal    Mail Room                        5/27/2021    11:13
             INC-                    Contraband                                                            mail)                                                       AM
             2021-
            008179

 6/2/2021    WCI-         WCI          Major       Drugs            Unknown              5 Pieces     Mailroom(legal    Mail Room                        5/24/2021    11:14
             INC-                    Contraband                                                            mail)                                                       AM
             2021-
            008180

 6/4/2021   MACI-        MACI          Major       Drugs            Unknown              3 Pieces     Mailroom(legal    Mail Room                         6/2/2021    1:00
             INC-                    Contraband      3                                                     mail)                                                      PM
             2021-
            008243
Created     Incident   Institution   Type Of      Category   Suspected Type of Drugs    Amount/Units   Method Of        Location of   Number     Weapon   Date Of     Time
Date        NumberCase: 1:25-cv-00291-MWM
                            Incident      Doc #: 1-10 Filed: 05/06/25  Page: 39
                                                                   Conveyance     of 48 PAGEID
                                                                              Violence/Area of  #: 86 Incident
                                                                                               Used?                                                                  Of
                                                                                                                        where found   Inmates                         Incident
                                                                                                                                      Involved

 6/4/2021   MACI-        MACI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                         6/3/2021    1:00
             INC-                    Contraband                                                             mail)                                                      PM
             2021-
            008246

 6/9/2021   LORCI-      LORCI          Major       Drugs       Other Synthetic Drug      10 Pieces     Mailroom(legal    Mail Room                         6/7/2021    11:30
             INC-                    Contraband                                                             mail)                                                       AM
             2021-
            008622

6/10/2021   MACI-        MACI          Major       Drugs            Unknown               7 Pieces     Mailroom(legal    Mail Room                         6/8/2021    2:00
             INC-                    Contraband      5                                                      mail)                                                      PM
             2021-
            008630

6/11/2021   MACI-        MACI          Major       Drugs            Unknown               2 Pieces     Mailroom(legal    Mail Room                        6/10/2021    12:00
             INC-                    Contraband                                                             mail)                                                       PM
             2021-
            008693

6/14/2021   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        6/11/2021    1:35
             INC-                    Contraband                                                             mail)                                                      PM
             2021-
            008832

6/17/2021    WCI-         WCI          Major       Drugs            Unknown               5 Pieces     Mailroom(legal    Mail Room                        6/11/2021    10:21
             INC-                    Contraband                                                             mail)                                                       AM
             2021-
            009016

6/22/2021    LECI-       LECI          Major       Drugs            Unknown                            Mailroom(legal      Other-                         6/16/2021    9:30
             INC-                    Contraband                                                             mail)                                                      AM
             2021-
            009254

6/25/2021   MACI-        MACI          Major       Drugs            Unknown               5 Pieces     Mailroom(legal    Mail Room                        6/24/2021    11:00
             INC-                    Contraband                                                             mail)                                                       AM
             2021-
            009506

6/28/2021   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        6/24/2021    8:30
             INC-                    Contraband                                                             mail)                                                      AM
             2021-
            009577

6/28/2021   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        6/24/2021    6:30
             INC-                    Contraband                                                             mail)                                                      AM
             2021-
            009578

 7/1/2021   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        6/30/2021    2:28
             INC-                    Contraband                                                             mail)                                                      PM
             2021-
            009816

 7/1/2021   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        6/29/2021    12:23
             INC-                    Contraband                                                             mail)                                                       PM
             2021-
            009817

 7/1/2021   MANCI-      MANCI          Major       Drugs     K2 (Synthetic Marijuana)     1 Pieces     Mailroom(legal    Mail Room                        6/29/2021    1:46
             INC-                    Contraband                                                             mail)                                                      PM
             2021-
            009818

 7/1/2021    WCI-         WCI          Major       Drugs            Unknown               5 Pieces     Mailroom(legal    Mail Room                        6/16/2021    11:07
             INC-                    Contraband                                                             mail)                                                       AM
             2021-
            009847
Created     Incident   Institution   Type Of      Category   Suspected Type of Drugs    Amount/Units   Method Of        Location of   Number     Weapon   Date Of     Time
Date        NumberCase: 1:25-cv-00291-MWM
                            Incident      Doc #: 1-10 Filed: 05/06/25  Page: 40
                                                                   Conveyance     of 48 PAGEID
                                                                              Violence/Area of  #: 87 Incident
                                                                                               Used?                                                                  Of
                                                                                                                        where found   Inmates                         Incident
                                                                                                                                      Involved

 7/1/2021    WCI-         WCI          Major       Drugs            Unknown               5 Pieces     Mailroom(legal    Mail Room                        6/16/2021    11:10
             INC-                    Contraband                                                             mail)                                                       AM
             2021-
            009848

 7/1/2021    WCI-         WCI          Major       Drugs            Unknown               5 Pieces     Mailroom(legal    Mail Room                        6/16/2021    11:10
             INC-                    Contraband                                                             mail)                                                       AM
             2021-
            009849

 7/1/2021    WCI-         WCI          Major       Drugs            Unknown               5 Pieces     Mailroom(legal    Mail Room                        6/16/2021    11:11
             INC-                    Contraband                                                             mail)                                                       AM
             2021-
            009850

 7/2/2021   MACI-        MACI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                         7/1/2021    1:00
             INC-                    Contraband                                                             mail)                                                      PM
             2021-
            009886

7/12/2021   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                         7/8/2021    8:49
             INC-                    Contraband                                                             mail)                                                      AM
             2021-
            010364

7/12/2021    MCI-         MCI          Major       Drugs     K2 (Synthetic Marijuana)    68 Grams      Mailroom(legal    Mail Room                         7/8/2021    10:00
             INC-                    Contraband                                                             mail)                                                       AM
             2021-
            010466

7/19/2021   LORCI-      LORCI          Major       Drugs       Other Synthetic Drug      10 Pieces     Mailroom(legal    Mail Room                        6/28/2021    11:30
             INC-                    Contraband                                                             mail)                                                       AM
             2021-
            010921

7/19/2021   LORCI-      LORCI          Major       Drugs       Other Synthetic Drug      10 Pieces     Mailroom(legal    Mail Room                        6/28/2021    11:35
             INC-                    Contraband                                                             mail)                                                       PM
             2021-
            010922

7/19/2021   LORCI-      LORCI          Major       Drugs       Other Synthetic Drug      10 Pieces     Mailroom(legal    Mail Room                        7/13/2021    11:30
             INC-                    Contraband                                                             mail)                                                       PM
             2021-
            010923

7/19/2021   LORCI-      LORCI          Major       Drugs       Other Synthetic Drug      10 Pieces     Mailroom(legal    Mail Room                        7/13/2021    11:35
             INC-                    Contraband                                                             mail)                                                       AM
             2021-
            010924

 8/4/2021   LORCI-      LORCI          Major       Drugs       Other Synthetic Drug      15 Pieces     Mailroom(legal    Mail Room                         8/3/2021    11:30
             INC-                    Contraband                                                             mail)                                                       AM
             2021-
            011781

 8/4/2021     ACI-        ACI          Major       Drugs         Opioid (Pill form)       6 Pieces     Mailroom(legal    Mail Room                        7/28/2021    9:15
             INC-                    Contraband                                                             mail)                                                      AM
             2021-
            011797

 8/4/2021    NCI-         NCI          Major       Drugs     Suboxone/Buprenorphine       2 Strips     Mailroom(legal      Other-                         7/16/2021    7:30
             INC-                    Contraband      2                                                      mail)                                                      AM
             2021-
            011846

 8/6/2021   MACI-        MACI          Major       Drugs            Unknown               2 Pieces     Mailroom(legal    Mail Room                         8/5/2021    12:45
             INC-                    Contraband      2                                                      mail)                                                       PM
             2021-
            011963
Created     Incident   Institution   Type Of      Category   Suspected Type of Drugs    Amount/Units   Method Of        Location of   Number     Weapon   Date Of     Time
Date        NumberCase: 1:25-cv-00291-MWM
                            Incident      Doc #: 1-10 Filed: 05/06/25  Page: 41
                                                                   Conveyance     of 48 PAGEID
                                                                              Violence/Area of  #: 88 Incident
                                                                                               Used?                                                                  Of
                                                                                                                        where found   Inmates                         Incident
                                                                                                                                      Involved

 8/6/2021    GCI-         GCI          Major       Drugs     K2 (Synthetic Marijuana)    10 Pieces     Mailroom(legal    Mail Room                         8/4/2021    12:30
             INC-                    Contraband                                                             mail)                                                       PM
             2021-
            012000

8/20/2021   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        8/19/2021    4:46
             INC-                    Contraband                                                             mail)                                                      AM
             2021-
            012803

8/24/2021   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        8/23/2021    2:31
             INC-                    Contraband                                                             mail)                                                      PM
             2021-
            012974

8/26/2021   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        8/25/2021    9:26
             INC-                    Contraband                                                             mail)                                                      AM
             2021-
            013075

8/26/2021   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        8/25/2021    7:27
             INC-                    Contraband                                                             mail)                                                      AM
             2021-
            013076

 9/2/2021   LORCI-      LORCI          Major       Drugs       Other Synthetic Drug      10 Pieces     Mailroom(legal    Mail Room                        8/27/2021    3:00
             INC-                    Contraband                                                             mail)                                                      PM
             2021-
            013458

 9/4/2021   LORCI-      LORCI          Major       Drugs       Other Synthetic Drug      10 Pieces     Mailroom(legal    Mail Room                         9/2/2021    11:30
             INC-                    Contraband                                                             mail)                                                       AM
             2021-
            013566

 9/4/2021   LORCI-      LORCI          Major       Drugs       Other Synthetic Drug       8 Pieces     Mailroom(legal    Mail Room                         9/3/2021    11:45
             INC-                    Contraband                                                             mail)                                                       AM
             2021-
            013567

9/13/2021   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        9/10/2021    8:24
             INC-                    Contraband                                                             mail)                                                      AM
             2021-
            013998

9/13/2021   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        9/10/2021    7:25
             INC-                    Contraband                                                             mail)                                                      AM
             2021-
            013999

9/13/2021   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        9/10/2021    7:26
             INC-                    Contraband                                                             mail)                                                      AM
             2021-
            014000

9/13/2021   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        9/10/2021    7:26
             INC-                    Contraband                                                             mail)                                                      AM
             2021-
            014001

9/13/2021   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        9/10/2021    8:27
             INC-                    Contraband                                                             mail)                                                      AM
             2021-
            014002

9/13/2021   MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                        9/10/2021    7:27
             INC-                    Contraband                                                             mail)                                                      AM
             2021-
            014003
Created      Incident   Institution   Type Of      Category   Suspected Type of Drugs    Amount/Units   Method Of        Location of     Number     Weapon   Date Of      Time
Date         NumberCase: 1:25-cv-00291-MWM
                             Incident      Doc #: 1-10 Filed: 05/06/25  Page: 42
                                                                    Conveyance     of 48 PAGEID
                                                                               Violence/Area of  #: 89 Incident
                                                                                                Used?                                                                     Of
                                                                                                                         where found     Inmates                          Incident
                                                                                                                                         Involved

9/16/2021    MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                          9/15/2021     12:57
              INC-                    Contraband                                                             mail)                                                          PM
              2021-
             014289

9/16/2021    MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                          9/15/2021     12:18
              INC-                    Contraband                                                             mail)                                                          PM
              2021-
             014290

9/16/2021    MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                          9/15/2021     12:06
              INC-                    Contraband                                                             mail)                                                          PM
              2021-
             014291

9/17/2021    MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                          9/16/2021     11:14
              INC-                    Contraband                                                             mail)                                                          AM
              2021-
             014386

9/17/2021    MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                          9/16/2021     11:36
              INC-                    Contraband                                                             mail)                                                          AM
              2021-
             014390

10/1/2021     DCI-         DCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                          9/30/2021     8:30
              INC-                    Contraband                                                             mail)                                                         AM
              2021-
             015348

10/6/2021    LORCI-      LORCI          Major       Drugs       Other Synthetic Drug      23 Pieces     Mailroom(legal   Housing Unit-                       10/5/2021     3:00
              INC-                    Contraband                                                             mail)         Bed/Cell                                        PM
              2021-
             015616

10/8/2021     CCI-         CCI          Major       Drugs     K2 (Synthetic Marijuana)    50 Pieces     Mailroom(legal    Mail Room                          10/6/2021     7:00
              INC-                    Contraband                                                             mail)                                                         AM
              2021-
             015735

10/12/2021    ORW-        ORW           Major       Drugs     K2 (Synthetic Marijuana)     5 Pieces     Mailroom(legal    Mail Room                          10/1/2021     10:20
              INC-                    Contraband                                                             mail)                                                          AM
              2021-
             015908

10/14/2021   MACI-        MACI          Major       Drugs            Unknown               3 Pieces     Mailroom(legal    Mail Room                          10/13/2021    12:00
              INC-                    Contraband      3                                                      mail)                                                          PM
              2021-
             016026

10/18/2021   SOCF-       SOCF           Major       Drugs            Unknown               2 Pieces     Mailroom(legal   Housing Unit-                       10/14/2021    7:15
              INC-                    Contraband                                                             mail)         Bed/Cell                                        PM
              2021-
             016173

10/26/2021   SOCF-       SOCF           Major       Drugs     K2 (Synthetic Marijuana)     1 Pieces     Mailroom(legal   Housing Unit-                       10/22/2021    8:00
              INC-                    Contraband                                                             mail)         Bed/Cell                                        PM
              2021-
             016671

11/3/2021    MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                          11/2/2021     8:46
              INC-                    Contraband                                                             mail)                                                         AM
              2021-
             017129

11/16/2021    OSP-        OSP           Major       Drugs     K2 (Synthetic Marijuana)    39 Pieces     Mailroom(legal    Mail Room                          11/4/2021     2:10
              INC-                    Contraband                                                             mail)                                                         PM
              2021-
             017806
Created      Incident   Institution   Type Of      Category   Suspected Type of Drugs   Amount/Units   Method Of        Location of   Number     Weapon   Date Of      Time
Date         NumberCase: 1:25-cv-00291-MWM
                             Incident      Doc #: 1-10 Filed: 05/06/25  Page: 43
                                                                    Conveyance     of 48 PAGEID
                                                                               Violence/Area of  #: 90 Incident
                                                                                                Used?                                                                  Of
                                                                                                                        where found   Inmates                          Incident
                                                                                                                                      Involved

11/19/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        11/18/2021    10:41
              INC-                    Contraband                                                            mail)                                                        AM
              2021-
             017964

11/23/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        11/22/2021    9:00
              INC-                    Contraband                                                            mail)                                                       AM
              2021-
             018107

11/23/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        11/22/2021    9:00
              INC-                    Contraband                                                            mail)                                                       AM
              2021-
             018108

11/23/2021    BECI-       BECI          Major       Drugs       Other Synthetic Drug      8 Pieces     Mailroom(legal    Mail Room                        11/16/2021    9:35
              INC-                    Contraband                                                            mail)                                                       AM
              2021-
             018129

11/23/2021    BECI-       BECI          Major       Drugs       Other Synthetic Drug      4 Pieces     Mailroom(legal    Mail Room                        11/16/2021    9:45
              INC-                    Contraband                                                            mail)                                                       AM
              2021-
             018130

11/23/2021    BECI-       BECI          Major       Drugs       Other Synthetic Drug      4 Pieces     Mailroom(legal    Mail Room                        11/16/2021    9:45
              INC-                    Contraband                                                            mail)                                                       AM
              2021-
             018131

11/23/2021    BECI-       BECI          Major       Drugs       Other Synthetic Drug      2 Pieces     Mailroom(legal    Mail Room                        11/16/2021    9:48
              INC-                    Contraband                                                            mail)                                                       AM
              2021-
             018132

11/24/2021    BECI-       BECI          Major       Drugs       Other Synthetic Drug      2 Pieces     Mailroom(legal    Mail Room                        11/23/2021    9:45
              INC-                    Contraband                                                            mail)                                                       AM
              2021-
             018196

11/24/2021    BECI-       BECI          Major       Drugs       Other Synthetic Drug     12 Pieces     Mailroom(legal    Mail Room                        11/23/2021    9:45
              INC-                    Contraband                                                            mail)                                                       AM
              2021-
             018197

11/24/2021    BECI-       BECI          Major       Drugs       Other Synthetic Drug      3 Pieces     Mailroom(legal    Mail Room                        11/23/2021    9:45
              INC-                    Contraband                                                            mail)                                                       AM
              2021-
             018198

11/29/2021   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        11/24/2021    10:01
              INC-                    Contraband                                                            mail)                                                        AM
              2021-
             018296

12/1/2021     BECI-       BECI          Major       Drugs       Other Synthetic Drug      4 Pieces     Mailroom(legal      Other-                         11/30/2021    9:50
              INC-                    Contraband                                                            mail)                                                       AM
              2021-
             018514

12/1/2021     BECI-       BECI          Major       Drugs       Other Synthetic Drug      4 Pieces     Mailroom(legal      Other-                         11/30/2021    9:50
              INC-                    Contraband                                                            mail)                                                       AM
              2021-
             018519

12/6/2021    LORCI-      LORCI          Major       Drugs       Other Synthetic Drug     72 Pieces     Mailroom(legal    Mail Room                        11/30/2021    12:00
              INC-                    Contraband                                                            mail)                                                        PM
              2021-
             018710
Created      Incident   Institution   Type Of      Category   Suspected Type of Drugs    Amount/Units   Method Of        Location of    Number     Weapon   Date Of      Time
Date         NumberCase: 1:25-cv-00291-MWM
                             Incident      Doc #: 1-10 Filed: 05/06/25  Page: 44
                                                                    Conveyance     of 48 PAGEID
                                                                               Violence/Area of  #: 91 Incident
                                                                                                Used?                                                                    Of
                                                                                                                         where found    Inmates                          Incident
                                                                                                                                        Involved

12/9/2021     BECI-       BECI          Major       Drugs     Suboxone/Buprenorphine       80 Strips    Mailroom(legal    Mail Room                         10/29/2021    9:30
              INC-                    Contraband                                                             mail)                                                        AM
              2021-
             018869

12/13/2021    CCI-         CCI          Major       Drugs     K2 (Synthetic Marijuana)     10 Strips    Mailroom(legal    Mail Room                         12/10/2021    9:20
              INC-                    Contraband                                                             mail)                                                        AM
              2021-
             018954

1/13/2022     NCI-         NCI          Major       Drugs       Other Synthetic Drug     1440 Pieces    Mailroom(legal    Mail Room                         1/11/2021     12:00
              INC-                    Contraband                                                             mail)                                                         PM
              2022-
             000602

1/13/2022     NCI-         NCI          Major       Drugs       Other Synthetic Drug        10080       Mailroom(legal    Mail Room                          4/2/2021     1:00
              INC-                    Contraband                                            Pieces           mail)                                                        PM
              2022-
             000605

1/18/2022    MACI-        MACI          Major       Drugs            Unknown              10 Pieces     Mailroom(legal    Mail Room                         1/14/2022     1:30
              INC-                    Contraband                                                             mail)                                                        PM
              2022-
             000719

 2/1/2022    LAECI-      LAECI          Major       Drugs     K2 (Synthetic Marijuana)    4.5 Grams     Mailroom(legal   Housing Unit                       1/31/2022     8:42
              INC-                    Contraband                                                             mail)        - General                                       AM
              2022-
             001450

 3/2/2022    MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                          3/1/2022     10:54
              INC-                    Contraband                                                             mail)                                                         AM
              2022-
             002771

 3/2/2022    MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                          3/1/2022     11:55
              INC-                    Contraband                                                             mail)                                                         AM
              2022-
             002772

 3/2/2022     BECI-       BECI          Major       Drugs       Other Synthetic Drug      10 Pieces     Mailroom(legal      Other-                          2/25/2022     10:00
              INC-                    Contraband                                                             mail)                                                         AM
              2022-
             002803

3/21/2022    MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                         3/18/2022     9:01
              INC-                    Contraband                                                             mail)                                                        AM
              2022-
             003524

4/15/2022    MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                         4/14/2022     11:36
              INC-                    Contraband                                                             mail)                                                         AM
              2022-
             005073

4/15/2022    MANCI-      MANCI          Major       Drugs            Unknown               1 Pieces     Mailroom(legal    Mail Room                         4/15/2022     12:37
              INC-                    Contraband                                                             mail)                                                         PM
              2022-
             005074

 6/3/2022     LECI-       LECI          Major       Drugs            Unknown                Pieces      Mailroom(legal    Mail Room                          6/1/2022     2:20
              INC-                    Contraband                                                             mail)                                                        PM
              2022-
             007706

 7/6/2022      TCI-        TCI          Major       Drugs     K2 (Synthetic Marijuana)     1 Pieces     Mailroom(legal    Mail Room                         6/15/2022     10:30
              INC-                    Contraband                                                             mail)                                                         AM
              2022-
             009242
Created      Incident   Institution   Type Of      Category   Suspected Type of Drugs   Amount/Units   Method Of        Location of    Number     Weapon   Date Of      Time
Date         NumberCase: 1:25-cv-00291-MWM
                             Incident      Doc #: 1-10 Filed: 05/06/25  Page: 45
                                                                    Conveyance     of 48 PAGEID
                                                                               Violence/Area of  #: 92 Incident
                                                                                                Used?                                                                   Of
                                                                                                                        where found    Inmates                          Incident
                                                                                                                                       Involved

7/12/2022    MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         7/11/2022     2:41
              INC-                    Contraband                                                            mail)                                                        PM
              2022-
             009598

9/30/2022    MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         9/29/2022     7:56
              INC-                    Contraband                                                            mail)                                                        AM
              2022-
             013939

9/30/2022    MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         9/29/2022     8:01
              INC-                    Contraband                                                            mail)                                                        AM
              2022-
             013940

10/5/2022     RICI-       RICI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         10/5/2022     2:30
              INC-                    Contraband                                                            mail)                                                        PM
              2022-
             014305

10/14/2022     TCI-        TCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         10/12/2022    10:00
              INC-                    Contraband      2                                                     mail)                                                         AM
              2022-
             014746

11/7/2022      TCI-        TCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         11/7/2022     6:00
              INC-                    Contraband                                                            mail)                                                        AM
              2022-
             015882

11/9/2022    MANCI-      MANCI          Major       Drugs            Unknown             15 Pieces     Mailroom(legal    Mail Room                         11/9/2022     9:01
              INC-                    Contraband                                                            mail)                                                        AM
              2022-
             016026

11/10/2022   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         11/9/2022     9:09
              INC-                    Contraband                                                            mail)                                                        AM
              2022-
             016088

12/20/2022    RICI-       RICI          Major       Drugs            Unknown                           Mailroom(legal    Mail Room                         12/20/2022    1:30
              INC-                    Contraband                                                            mail)                                                        PM
              2022-
             017813

12/20/2022    RICI-       RICI          Major       Drugs            Unknown                           Mailroom(legal    Mail Room                         12/20/2022    1:30
              INC-                    Contraband                                                            mail)                                                        PM
              2022-
             017814

 3/6/2023      TCI-        TCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                          3/3/2023     4:10
              INC-                    Contraband                                                            mail)                                                        PM
              2023-
             002834

 3/9/2023      TCI-        TCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                          3/6/2023     12:30
              INC-                    Contraband                                                            mail)                                                         PM
              2023-
             003078

3/13/2023    MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal   Housing Unit                       3/13/2023     8:03
              INC-                    Contraband                                                            mail)        - General                                       AM
              2023-
             003281

3/16/2023    MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                         3/16/2023     9:35
              INC-                    Contraband                                                            mail)                                                        AM
              2023-
             003487
Created     Incident   Institution   Type Of      Category   Suspected Type of Drugs   Amount/Units   Method Of        Location of   Number     Weapon   Date Of     Time
Date        NumberCase: 1:25-cv-00291-MWM
                            Incident      Doc #: 1-10 Filed: 05/06/25  Page: 46
                                                                   Conveyance     of 48 PAGEID
                                                                              Violence/Area of  #: 93 Incident
                                                                                               Used?                                                                 Of
                                                                                                                       where found   Inmates                         Incident
                                                                                                                                     Involved

 6/7/2023    RICI-       RICI          Major       Drugs            Unknown                           Mailroom(legal    Mail Room                         6/7/2023    9:15
             INC-                    Contraband                                                            mail)                                                      AM
             2023-
            007599

6/21/2023    RICI-       RICI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        6/21/2023    9:30
             INC-                    Contraband                                                            mail)                                                      AM
             2023-
            008405

6/30/2023    CRC-        CRC           Major       Drugs     Suboxone/Buprenorphine      8 Strips     Mailroom(legal    Mail Room                        5/29/2023    8:30
             INC-                    Contraband                                                            mail)                                                      AM
             2023-
            008982

 7/7/2023    CRC-        CRC           Major       Drugs     Suboxone/Buprenorphine      8 Strips     Mailroom(legal      Other-                         6/29/2023    10:55
             INC-                    Contraband      2                                                     mail)                                                       AM
             2023-
            009416

7/20/2023    CRC-        CRC           Major       Drugs     Suboxone/Buprenorphine      8 Strips     Mailroom(legal    Mail Room                        6/29/2023    1:00
             INC-                    Contraband                                                            mail)                                                      PM
             2023-
            010171

3/20/2024    RICI-       RICI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        3/20/2024    8:08
             INC-                    Contraband                                                            mail)                                                      AM
             2024-
            005011

4/26/2024    CCI-         CCI          Major       Drugs        Methamphetamine          4 Pieces     Mailroom(legal    Mail Room                        4/25/2024    9:15
             INC-                    Contraband                                                            mail)                                                      AM
             2024-
            007402

4/29/2024   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        4/29/2024    1:15
             INC-                    Contraband                                                            mail)                                                      PM
             2024-
            007581

5/13/2024    LECI-       LECI          Major       Drugs             Cocaine            10 Pieces     Mailroom(legal    Mail Room                        5/10/2024    12:00
             INC-                    Contraband                                                            mail)                                                       PM
             2024-
            008462

5/16/2024   MANCI-      MANCI          Major       Drugs            Unknown              1 Pieces     Mailroom(legal    Mail Room                        5/16/2024    1:25
             INC-                    Contraband                                                            mail)                                                      PM
             2024-
            008709

8/14/2024    NCI-         NCI          Major       Drugs       Other Synthetic Drug      40320        Mailroom(legal    Mail Room                        2/16/2024    11:00
             INC-                    Contraband                                          Pieces            mail)                                                       AM
             2024-
            015250
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Case: 1:25-cv-00291-MWM Doc #: 1-10 Filed: 05/06/25 Page: 48 of 48 PAGEID #: 95
